Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 1 of 152

UNITED STATES DISTRICT COURT JUDGE KARAS

SOUTHERN DISTRICT OF NEW YORK X 1 9 C V id l 2 2

 

James H. Brady, INDEX No.
Plaintiff,
V. COMPLAINT
Barry R. Ostrager, JURY DEMAND /
John Doe 1-10, and, DAMAGES

Jane Doe 1-10.
Defendant.

 

Plaintiff James H. Brady complains as follows:
NATURE OF THIS ACTION = 3

1. This is an action to recover money damages arising out of the violation of.
Plaintiff's rights under the Constitution of the United States.

2. This action alleges violations of Plaintiff's civil rights to due process and
equal treatment pursuant to 42 U.S.C. §1983 and §1985; violation of Plaintiff's First
Amendment right; and violations of Civil RICO 18 U.S.C.§1964(c); Conspiracy Against
Rights; Failure to Intervene; Denial of Plaintiff's Right to a Fair Trial; and Intentional
Infliction of Emotional Distress.

3. The allegations in this action are undisputed. Defendant Barry R. Ostrager
is familiar with all of the evidence in this Complaint and as detailed herein has never

disputed a word of it.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 2 of 152
4. ‘These violations were so outrageous; Plaintiff secks Punitive Damages
pursuant to 42 U.S.C. §1983.

JURISDICTION AND VENUE

 

5. This action is brought pursuant to 42 U.S.C. §1983, §1985 and §1343(a)(3),
and the Fifth and Fourteenth Amendments to the Constitution of the United States. This
Court has jurisdiction pursuant to 28 U.S.C. §1331, §1343, and §1367(a).

6. Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

PARTIES

7. Plaintiff James H. Brady is the former owner of the commercial co-
operative apartment located at 450 West 31* Street, 12" Floor and Roof Unit, New York,
NY 10001, and resides at 510 Sicomac Avenue, Wyckoff, NJ 07481.

8, Plaintiff has been an outspoken advocate since 2009 in exposing corruption
in the New York State Courts and exposing the Court’s guid pro quo relationship with
Governor Cuomo and other politically connected people.

9. Since June of 2015, Defendant Hon. Justice Barry R. Ostrager is a New
York Supreme Court Justice of the Commercial Division.

10. Justice Ostrager was appointed to the New York Court of Claims by
Governor Andrew Cuomo in June 2015, but for some unexplained reason, he took over

Plaintiff's case that was before Justice Joan Madden since 2009.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 3 of 152

11. Immediately upon retaliating against James H. Brady during the June 2015
Trial, he was rewarded to a position as a brand new judge to the prestigious and very
powerful Commercial Division though he had no other trial experience.

12, Prior to his appointment, Justice Ostrager spent his entire career at Simpson
Thacher & Bartlett, LLP, becoming a partner in 1980 and serving as Chair of the firm’s
Litigation Department from 1999 until his retirement in 2015.

13. Defendant Justice Barry R. Ostrager was the presiding judge in the New
York State Supreme Court, Manhattan Division in two separate matters in the case GS"

Realty v. James H. Brady, Index No. 603561/20009.

 

STATEMENT OF FACTS

14. On September 5, 2018 Plaintiff was forced to lose his and his wife's
livelihood and his family business destroyed in order to pay $1,705,535.71 of unlawful
court-created debt (Exhibit 1) as a result of Defendant Barry R. Ostrager's and others
non-judicial acts that were taken in an absence of all jurisdiction.

15. Asaresult of Barry R. Ostrager’s refusal to adjudicate with a Yes or No
answer, Plaintiff's defenses in a Personal Guarantee case, Plaintiff was force to pay
$1,705,535.71 on September 5, 2018 to a Landlord whose attorney admitted himself in

court was not entitled to a penny under the law.
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 4 of 152

16. Defendant Barry Ostrager refused to adjudicate with a Yes or No answer to
Plaintiff's defenses, because he knew the answer was a Yes; the Personal Guarantees
were voided by the landlord’s illegal actions and inactions.

17. Areview of Barry Ostrager’s one sentence long hand-written decision on a
cover sheet from February 17, 2017 (Exhibit 2) proved conclusively he completely
ignored to adjudicate Plaintiff's Personal Guarantees defense.

18. Areview of Barry Ostrager’s April 7, 2017 one sentence long hand-written
decision on a cover-sheet (Exhibit 3) further proves that Judge Barry Ostrager refused to
adjudicate the Personal Guarantees issue, although that was the issue before the Court.

19. The law is clear that the mandated duty of a judge is to adjudicate the issue
before them.

20. “The principal hallmark of the judicial function is a decision in relation to a

 

particular case.” Mireles vy. Waco, 502 US 9 (Supreme Court 1991).

21. Judge Barry Ostrager’s February 17, 2017 (Exhibit 2) hand-written decision
and his April 7, 2017 (Exhibit 3) hand-written decision proves he refused his judicial
functions when he refused to adjudicate the express issue before the court.

22. The refusal to adjudicate the issue before the Court was a constitutional

violation of due process.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 5 of 152

23. The refusal to adjudicate the express issue before the Court was part of a
conspiracy against Plaintiffs rights, which was a violation of 42 U.S.C. Sec.1983, 1985,
and Civil RICO 18 U.S.C.§1964(c).

24. The Landlord's Amended Complaint of August 8, 2014 (Exhibit 7) proves
there were never any claims made by the Landlord of wrongdoing on the part of Plaintiff
or his companies.

25. Defendant Barry Ostraget's participation in the retaliatory conspiracy, and
the violations of Plaintiff's Constitutional rights, were not judicial acts but acts that were
done outside his judicial capacity, for which Defendant Barry Ostrager is not immune
from damages as an individual.

26. “A judge is not immune from liability for nonjudicial actions, i.c., actions
not taken in the judge's judicial capacity.” Forrester v. White, 484 U.S. 227 -229; Stump.
y. Sparkman, 435 U.S. 360 (1978). “A judge is not immune for actions, though judicial
in nature, taken in the complete absence of all jurisdiction.” Stump at 356.

27. Areview of the January 27, 2017 letter to Judge Ostrager (Exhibit 4) and
the February 17, 2017 Oral Argument transcript (Exhibit 5) provided binding case law
of why the Personal Guarantees were voided as a matter of law and public policy.

28. It was absent on all jurisdictions and was a constitutional violation for
Judge Barry Ostrager to refuse to make a decision in relation to this particular Personal

Guarantees case.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 6 of 152

29. The refusal to adjudicate the issue before the Court was the opposite of a
judicial act and thus judicial immunity does not apply.

30. The unlawful and unconstitutional acts of Barry Ostrager were not taken in
the judges’ judicial capacity.

31. Judges are immune for the wrong decision they may make, but they are not
immune from liability from a judicial function that the Court was required to make as a
judicial function but yet refuses to make.

32. The principle function of judicial acts is to adjudicate the issues before the
Court, not to refuse to adjudicate the issues before the Court.

33. Defendant Barry Ostrager's refusal to adjudicate the Personal Guarantees
was a non-judicial act and was done outside Defendant Barry Ostrager’s jurisdiction.

34. “Making evidentiary ruling is a paradigmatic function performed by

 

judges.” Ashmore y. State of New York, 12-cv 3032.

35. Plaintiff had his life destroyed and had to sell his commercial co-op and
lose his business because Judge Ostrager and Appellate Division Judges refused to make
an evidentiary ruling, although it is a paradigmatic function performed by judges.

36. The January 27, 2017 letter (Exhibit 4) written to Judge Ostrager includes
the following paragraphs detailing what issues were to be heard at the Personal
Guarantee Oral Arguments:

This Court has scheduled Oral Arguments for February 17, 2017 to review
Plaintiff's legal fees totaling nearly $1.3 million. In order for the Court to award

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 7 of 152

those fees, Your Honor would have to make two independent determinations.
First, the Landlord did not change and increase the risk under the leases from the
good and satisfactory “as is” condition, compliant with fire safety laws, after
Defendant signed the leases and personal guarantees. Secondly, the Court would
have to determine that the Landlord did not act unlawfully in converting the
building from the “as is” factory building condition guaranteed in the leases, to a
DOB non-conforming office space building. New York black letter law is clear
that it is contrary to public policy that a landlord benefit from his own unlawful
acts. (Page 1)

Whether the Landlord changed the risk under the leases was the first question
Plaintiff presented to the Court, and it remained a question never addressed by the
Court and never given to the jury. This error formed the basis for the incorrect
jury instruction that led to a directed verdict. Furthermore, as shown in the
accompanying Reply Brief, pursuant to the leases, Your Honor should have
determined whether the Landlord changed the risk. Instead, the Record shows
that the issue of the Personal Guarantees was never addressed directly by Your
Honor at trial. Accordingly, the issue has not been adjudged. (Page 2)

37. The February 17, 2017 Oral Argument Transcript (Exhibit 5) shows Barry
Ostrager again being told that as a matter of law and public policy the Personal
Guarantees were voided by the landlord’s illegal conduct after the leases and Personal
Guarantees were signed.

38. On page 7 of the February 17, 2017 Oral Argument Transcript, Barry
Ostrager mentions his June 23, 2015 threat that Mr. Brady accept the Landlord’s offer to
pay $50,000 to settle the case:

“You know that I pleaded with you to resolve this jury case before the case was
submitted to the jury.”

39. That “resolution” of the case was to accept a $50,000 offer from the

Landlord who owed Mr. Brady millions of dollars in damages. Barry Ostrager wanted

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 8 of 152
Plaintiff to suffer and be forced to pay the Landlord over $1,705,535.71 million as
punishment for declining his threat.

40. Defendant Barry Ostrager's refusal to adjudicate Plaintiff's Personal
Guarantees defense resulted not only in Plaintiff having his life and business destroyed
to pay the admitted scofflaw Landlord $1,705,535.71 million, but also foreclosed
Plaintiff's counterclaims for the millions of dollars in damages caused by the Landlord's
admitted actions and breach of contract.

41. The Oral Argument Transcript from February 17, 2017 also shows Plaintiff
confronting Judge Ostrager with the false jury charge that he gave in a related matter
and, only to have Defendant Barry Ostrager assert he does need to answer.

42, Atthe February 17, 2017 Oral Argument, the Landlord’s attorney does not
dispute that the Personal Guarantees were voided by the Landlord’s unlawful actions
and inactions. As shown further below, the Landlord's attorney never disputed the
Landlord's unlawful actions but rather openly listed some of them in court, only to have
Defendant ignore them entirely in his Jury Charge.

43. Areview of the January 27, 2017 (Exhibit 4) letter to Defendant Barry
Ostrager, and the Oral Argument transcript from February 17, 2017 (Exhibit 5), shows
that there were multiple reasons why the Personal Guarantees were voided as a matter of
law and public policy, yet despite this fact Judge Barry Ostrager refused to carry out his

judicial functions and did not adjudicate the issue as the decisions definitively prove.
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 9 of 152
44. Immediately after the Oral Arguments, Judge Ostrager is shown discarding
everything that was said during the hearing and rather than address the issue before him,
he immediately ignored the triable issue that was before him. All that was written was
the following statements on the New York Supreme Court cover sheet:

Granted to the extent of awarding Plaintiff's attorneys' fees in the sum of $350,000
together with interest at the statutory rate from January 1, 2012.

45. Ignoring making a decision on Plaintiff's Personal Guarantees defense with
the material evidence before him was a violation of Plaintiff's due process rights and 42
U.S.C 1983. Defendant Barry Ostrager did not have jurisdiction to not issue a ruling,
which is the opposite of a judicial act.

46. No finding of fact or finding of law are mentioned in the handwritten cover
sheets that would form the basis for why the Personal Guarantees were not voided as a
matter of law and public policy.

47. IGS Realty proceeded in April of 2017 to pursue a settlement of the
judgment created by Judge Ostrager’s refusal to adjudicate Plaintiff's defenses to the
Personal Guarantees.

48. On April 6, 2017, Plaintiff filed Defendant's Opposition to Plaintiff's
Motion for Settlement Judgment. As Exhibit 6 shows, it is filled with reasons why the

Personal Guarantees were voided as a matter of law and public policy.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 10 of 152

49. The very next day on April 7, 2017 is shown ignoring and refusing to
adjudicate the claims and ignoring the Personal Guarantees defense. (Exhibit 3), proving
his retaliatory intent.

50. Defendant Barry Ostrager's April 7, 2017 one-page handwritten Decision
on a cover sheet (Exhibit 3), written hours after Plaintiff had filed an Opposition to
Settlement Judgment (Exhibit 6), proves conclusively Barry R. Ostrager entirely
discarded and ignored the admitted to and undisputed reasons why the Personal
Guarantees were voided and James H. Brady did not owe the Landlord a penny.

51. Defendant Barry Ostrager's April 7, 2017 hand-written decision states:
“Although defendant (Brady) has opposed the motion, his opposition does not address
the issue of interest raised in the motion sufficient to counter the dictates of CPLR
S001.”

52. Defendant Barry Ostrager knew the reasons why the Personal Guarantees
were voided as a matter of law and public policy and yet he deliberately chose to ignore
the law and not apply it to this case, which was absent from all jurisdictions.

53. The words Personal Guarantees are not even mentioned in the handwritten
decisions that Judge Ostrager wrote on the cover sheet from February 17, 2017 and
April 7, 2017.

54. Defendant Barry Ostrager further ignored and did not adjudicate the case

law and public policy contained in Plaintiff's Opposition showing that the Landlord was

10
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 11 of 152
statutorily prohibited from collecting on anything from Mr. Brady and profiting from his
admitted unlawful acts.

55. The February 17, 2017 Decision and the April 7, 2017 Decision show the
$1,705,535.71 Plaintiff was forced to pay was unlawful court-created debt resulting
from Defendant Barry R. Ostrager's refusal to carry out his judicial function and render a
decision on the Personal Guarantees defenses.

“The principal hallmark of the judicial function is a decision in relation to a
particular case.” Mireles v. Waco, 502 US 9 (Supreme Court 1991).

 

56. No immunity could apply to a man who refuses to perform the paramount
Judicial function.

57. Areview of the video of the Appellate Division, First Department May 16,
2018 Oral Argument Archives proves that the Appellate Division judges also sat silent
and refused to adjudicate the issue before the Court, which was Plaintiffs defense to the
enforcement of the Personal Guarantees,

58. A letter sent to the Appellate Division, First Department on May 18, 2018
(Exhibit 10) confronts them on their silence during the May 16, 2018 Oral Arguments,
and that they had a duty to adjudicate the Personal Guarantee defense.

59. Another letter to the Appellate Division sent on June 5, 2018 (Exhibit 11)
“The transcript of the May 16, 2018 Oral Arguments shows this Court refused to answer
whether the Merger Clause to the contract was breached by the Landlord even though

the parties have always agreed it was.”

11

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 12 of 152

60. Two days later on June 7, 2018, the Appellate Division wrote a few
sentence long decisions, deliberately refusing to adjudicate the Personal Guarantees
defense.

61. Areview of the February 17, 2017, April 7, 2017 Decisions by Barry
Ostrager, and the June 7, 2018 Appellate Division Decision proves neither the Supreme
Court nor Appellate Division ever made a decision pertaining to Plaintiff's Personal
Guarantees defenses. The words “Personal Guarantees” are nowhere in any of the three
decisions.

62. The disdain for Plaintiff is so bad that they would like to see him pay
$1,705,535.71 to an admitted scofflaw landlord whose attorney admitted voided the
Personal Guarantees.

63. The Appellate Division, First Department's June 7, 2018 decision (Exhibit
12) affirmed Defendant Barry Ostrager's April 7, 2017 decision, which expressly states
Barry Ostrager, is ignoring Plaintiff's defenses, proving the issue of the Personal
Guarantees was never adjudicated.

64. The theory behind judicial immunity is that it's better to make a mistake
than not make a decision at all. “The risk of some error and possible injury from such
error is better than not to decide or act at all.” James E. Tucker v. Maryland Outwish.

65. Plaintiff was forced to sell his family business and his life destroyed and

pay a scofflaw landlord $1,705,535.71 because Defendant Barry Ostrager and the

12

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 13 of 152
Appellate Division refused “to make a decision” even though the IGS Realty Complaint
(Exhibit 7) was nothing but a Personal Guarantee case.

In a Related Case, Barry Ostrager Colluded with Opposing Counsel to Deny
Plaintiff a Fair Trial in a Series of Non-Judicial Acts Outside Defendant Ostrager's
Jurisdiction

66. The June 23 to June 26, 2015 Trial was to pertain to Personal Guarantees
only on the Landlord's side, and Plaintiff's counterclaims. Exhibit 7 proves there were
never any claims by the Landlord in the Amended Complaint of August 8, 2014 of any
claims of wrongdoing on the part of Plaintiff or his companies.

67. The Complaint filed in August 8, 2014 (Exhibit 7) by IGS Realty was for
the enforcement of Personal Guarantees and nothing else. As shown below, Defendant

Barry Ostrager fabricated a jury charge in collusion with IGS Realty.

Defendant Barry Ostrager's Ex Parfe Meeting with the Landlord and His Attorney

 

Robert Fass

68. On June 23, 2015, Plaintiff could visually see Defendant Barry Ostrager,
the Landlord's attorney Robert Fass, and the Landlord having an ex parte meeting in the
courtroom. This ex parte meeting was followed by Mr. Fass's opening statements,
which for the first time in the entire case accused James H. Brady, Guarantor, engaging
in unlawful activity.

69. The Landlord's attorney Robert Fass's opening statement is incontrovertible
proof that Defendant Barry Ostrager conspired with Mr. Fass in an ex parte meeting to

change the course of the trial entirely and fabricate a false jury charge.

13

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 14 of 152

“Tfrah (the landlord) will show you that Mr. Brady's use was not permitted under
applicable zoning building code requirements. In particular, although he claims to
be running what is called a meeting hall --and the Judge will charge you what
that means--he was in fact an entirely different use known as a banquet hall,
which wasn't allowed in the district. And he did it from day one.” (Transcript,
June 23, 2015, p. 12). (R.989).

70. Similarly, Mr. Fass's closing statements again proved the ex parte meeting

and scheme with Defendant Barry Ostrager by mentioning a jury charge which

Defendant Barry Ostrager would give the jurors without Plaintiff knowing a thing about

it:

“The Judge will charge you on the law. Lask you to listen very carefully
because a key issue in this case was whether Mr. Brady was operating a
meeting hall or banquet hall.

 

 

 

We know they applied to the Department of Buildings under the section covering
meeting halls. Mr. Iftah had no idea exactly what the difference was, but Mr.
Brady did. And he chose to misrepresent his use.” (R. 881-882)

“He also makes an investigation as to what uses are permitted in the district. And
he quite correctly claims that banquet halls, as the Judge will charge you on
what a banquet hall is, are not permitted at all in the space. Meeting halls are
permitted.” (R. 883)

 

71. Defendant Barry Ostrager then asked the Jury to determine whether
Plaintiff's corporation was following a meeting or banquet hall floor plan:

“Mr. Brady claims that the premises were used as a meeting hall. Mr. Brady
claims that due to the subsequent acts by plaintiff and subsequent failures to act
by plaintiff, his corporations were unable to use the premises as a meeting hall as
the term is defined by law, and that he incurred damages as a result.

Plaintiff disputes this claim. Plaintiff asserts that Mr. Brady’s corporations did not
use the premises as a meeting hall, but instead used them as a banquet hall. It is
for you to decide what use the premises were used for.” (R. 918)

 

14
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 15 of 152

In order to award Mr. Brady any damages, you must find that during the major
period of occupancy Mr. Brady’s corporations were using the leased premises as a
meeting hall. The plaintiff seeks to recover damages for breach the three leases."
(R. 913-914).

72. It was NOT for the jury to decide whether Mr. Brady's corporations were
operating illegally; it was for the Department of Buildings to determine, and Plaintiff's
corporations had never been cited or fined for unlawful use. Rather Mr. Brady had
proved conclusively, and the Landlord never denied, that it was the Landlord who was
operating illegally and paying thousands of dollars in fines.

73. Defendant Barry Ostrager made it so Plaintiff had to prove his innocence,
that his corporations were operating legally, and that if the jury (and not the DOB)
determined they were operating with a different floor plan, Mr. Brady as Guarantor was
liable for breach of contract. This was entirely outside Defendant Barry Ostrager’s
jurisdiction and was a blatant violation of every principle of a fair trial, due process or
rule of law.

74, Plaintiff complained three separate times about the unconstitutional change
in the nature of the trial that was not disclosed until opening arguments, where
Defendant Barry Ostrager and the Landlord's plot was revealed:

MR. BRADY: Yes. (“I object”).
They made, they made new charges, your Honor, that my use was
actually the one that was not lawful; and it was never raised on any -- it

was not raised in the Complaint, it was not raised in the reply. It's never
been raised until now, and I'm asking that it be precluded.

15
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 16 of 152

JHE COURT: That motion is denied. (R. 396)

75. Plaintiff again objected to the Jury Charge was ignored by Defendant Barry
Ostrager:

“Secondly, what I would ask the Court to really consider is this last minute
thing after six years that my use is really unlawful has not been made in
their complaint, in their answer, or anything. First time day before
yesterday, okay.

I’m not on trial on any of the issues that are in the complaint; it’s him
saying that I owe him money. And my thing is it’s my counterclaims.

This is something not mentioned in the complaint, never over six years.

And not my use is illegal, okay. My meeting hall use was not illegal.” (R.
848),

76. And fora third time, Defendant Barry Ostrager refused to answer Plaintiff
or address the objection:
“Nobody deserves it more, and I really would be so grateful at this stage,
your Honor, that they don’t be permitted in their statement of facts to

raise something for the first time after all those years.” (R. 850)

The Jury Charge and Verdict Sheets Do Not Match, Which Proves Collusion and
Violations of Plaintiff's Rights fo Due Process and a Fair Trial

77. Defendant Barry Ostrager told the jury to determine whether Plaintiff's
corporation was using a meeting or banquet hall floor plan, but the Verdict Sheet show
something else: Defendant Barry Ostrager had NOT asked the Jury whether Plaintiff
broke the contract with the Landlord, or that not following a certain floor plan was
breach of contract. Yet this is what the Verdict Sheets stated: Breach of Contract.

(Exhibit 13).

16
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 17 of 152

78. In other words, Defendant Barry Ostrager gave the Jury in incorrect
definition of meeting hall and then used that verdict to fine the Guarantor of the lease,
James H. Brady, guilty of breach of contract.

79. This was entirely outside Defendant Barry Ostrager’s jurisdiction. The ex
parte meeting with Mr. Fass and deliberately wrong jury charge were not judicial acts
and were outside his jurisdiction. Defendant Barry Ostrager has no immunity for these
non-judicial acts. Changing the nature of the case during the trial itself is not a judicial
act.

80. “A judge is not immune from liability for nonjudicial actions, i.e., actions
not taken in the judge’s judicial capacity. Second, a judge is not immune for actions,
though judicial in nature, taken in the complete absence of all jurisdiction.” Barreft v.

Harrington, 130 F.3d 246, 255 (6th Cir. 1997).

Defendant Barry Ostrager Conspired with the Landlord's Attorney Robert Fass of
Lying to the Jury and telling Them Operating Unlawfully, Breaking the Law and
Not Having a Certificate of Occupancy is No Big Deal

81. When Defendant Barry Ostrager was not lying to the Jury, he colluded with
Mr. Fass to allow the latter to lie and state over and over that Plaintiff could have simply

broken the law and continued to operate, that a certificate of occupancy for an event

rental space did not matter and was not necessary. This proves the collusion between

17

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 18 of 152

Defendant Barry Ostrager and Mr. Fass in violating Plaintiff's due process and
Constitutional rights at trial.

“You know, the fact that somebody does something wrong does not mean that
you’re hurt.” (R. 892)

“He operated fine without the C of O and nothing was ever said.” (R. 893)
“Having a Certificate of Occupancy makes no difference” (R. 885)

“So after 2007 he didn't have a certificate of occupancy of any sort and not once
did they throw him out.” (R. 884)

“The law is not being enforced” (R. 886)
“Nobody cared” (R. 887)

“He said he had a Bible that he had to pull out with the certificate of occupancy,
and he said that was necessary to show to the inspector. Guess what, in 2008,
2009, he had nothing in his Bible, so having a C of O makes no difference.
Inspections are very cursory, unless they see something dangerous, or somebody
makes a complaint then they will go and issue a violation.” (R. 885)

“Mr. [frah has to pay the fines. No big deal. He’s having inspections left and
right; nobody’s throwing him out. Nobody’s throwing out the office tenants. They
are just fining Mr. Ifrah.” (R. 886)

“Up until a certain time all of them told him what are you worried about this case,
the law is not being enforced.” (R. 886)

“So all Mr. Brady had to do was wait. Nobody forced him out. He decided to
leave.” (R. 887)

“Mr. Brady didn't have to leave. His corporation could still be there. He could still
be operating.” (R. 892)

“You will find out that no tenant in any of the allegedly illegal uses wherever

forced out by the Department of Buildings or any other agency in the city or the
state. They are allowed to stay until building is legalized. As a matter of fact,

18

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 19 of 152

some of them are allowed to stay whether the building is legalized or not. So to
claim Mr. Brady left because of something Mr. Ifrah did is silly” (R. 448).

“The Building Department would come in and issue violations certainly if people
complained; but if nobody complained, there wasn’t a problem.” (R. 446)

At Trial, the Robert Fass Admitted the Landlord Voided the Personal Guarantees

82. The Landlord's attorney Robert Fass on June 25, 2015 during closing
arguments included admissions of Plaintiff's due diligence and of the Landlord's illegal
actions after the leases were signed which voided the Personal Guarantees:

“So let’s begin at the beginning. In 2001, Mr. Ifrah placed an ad in the New York
Times. He (Brady) goes to the space, checks it out, and puts a deposit down a
check on one of the spaces. Then speaks with his father who has great experience
in real estate who tells him this is in the special garment district for zoning, so he
better check out whether his use is permitted.

So he puts a stop on the check and tells Mr. Ifrah he wants to do his due diligence,
which he does. And he checks the whole building from top to bottom, legal and
physical conditions, and concludes that everything is fine. The building’s legal,
the physical conditions are legal, and everything else is in good and satisfactory
condition, So then he writes another check and rents the space. After that in the
same year and the following year he rents two other spaces” (R. 882).

The Landlord's Attorney Admitted The Landlord Destroyed the Certificate of
Occupancy and Broke the Lease

“There is no doubt at the time after the leases were signed Mr. Ifrah started
renting space and he had to pay a lot of fines to do it.” (R. 888-889)

So after 2007 he didn’t have a certificate of occupancy of any sort.” (R. 902)
Mr. Fass Quotes the Following in His Memorandum of Law Showing that the

Personal Guarantees Were Voided by These Actions

19

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 20 of 152

83. ‘A guarantee will not be enforced where the modification”... impermissibly
increased [guarantor's” risk] without his consent.... White Rose Food, 99 NY2d at 591;
Arlona Ltd. Partnership v 8th of Jan. Corp., 50 AD3d 933, 934 9 (First Dept 2008), and
Williston Contracts states:

“There can be no doubt that a guarantor, when sued alone by the creditor, can

successfully resist by showing that the creditor, on his part, totally failed to

perform his obligations to the principal. In other words, the guarantor may always
assert a total failure of consideration. This is because the guarantor is not liable

unless the principal is bound (4 Williston Contracts (rev.ed) 1213),”

84. These elements taken together prove the Personal Guarantees were voided
by the Landlord's action. Defendant Barry Ostrager knows this and knew at trial, which
is why he refused to adjudicate the issue and switched the entire focus of the trial.

Defendant Barry Ostrager Avoided the Material Evidence That Voided thPersonal
Guarantees

85. Judge Ostrager also stayed silent on addressing the fact that what he said
was the “law” to the jury was proven to be false within the ten days that he gave to make
objections in Appellant's Motion to Vacate. The final words of Judge Ostrager on July
26, 2015 at trial were the following:

THE COURT: That's the judgment of the jury. If anybody wants to make any

motions, I'll provide the parties 10 ten days. Thereafter, the proposed judgment

should be 11 submitted by plaintiff, which will be entered by the Court. (R.947).

86. Specifically, Plaintiff submitted the Department of Buildings’ approved

floor plan that proves conclusively that Judge Ostrager's jury instruction on the what the

20

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 21 of 152

“law” was pursuant to the DOB, namely that to be classified as a “meeting hall” all
attendees at an event had to facing in one direction like a theater, otherwise Mr. Brady
owed the Landlord was incorrect and shown to be incorrect within the prescribed time
period.

87. Inthe subsequent motion to vacate, the undisputed assertions in Plaintiff's
Motion to Vacate, July 6, 2015 (Exhibit 8) prove that Defendant Barry Ostrager ignored
the material evidence of the case and continued his collusion with the Landlord's
attorney Mr. Fass.

88. Mr. Brady provided Defendant Barry Ostrager with the approved
Department of Buildings floor plan proving to Judge Ostrager that his surprise claim that
a “A meeting hall is defined as a space in which during the major period of occupancy
the persons assembled comprise a seated or otherwise passive audience to the
performance or presentation and have their attention focused in a common direction at a
common subject” was false.

89. Plaintiff Motion to Vacate (Exhibit 8) explains what occurred at trial, none
of which Defendant Barry Ostrager has denied:

First, a reading Plaintiffs (the Landiord) attorney, Mr. Fass's June 23, 2015

opening arguments proves that there was an ex parte oral motion made by

Plaintiff's to the Court, and decided in Plaintiff's favor, without Defendant (Brady)
being made aware of the last minute motion or being able to oppose the motion.

This oral motion, which the court granted, did not pertain to a minor issue. It
completely robbed Defendant of his day in Court, and shifted the entire focus of
the trial to whether Defendant had been engaged in illegal activity.

21

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 22 of 152

90. The fact that Judge Ostrager discarded the truth and the fact that his claim
was totally false proves collusion and a conspiracy between the Court and the Landlord
and his attorney.

91. The Defendant Barry Ostrager and the conspirators agreed in an ex parte
meeting that the Court would make this false claim to the jury if Mr. Brady did not agree
to the $50,000 offered by the Landlord to settle. Key to the conspiracy was that they
agreed that no one would claim that “A meeting hall is defined as a space in which
during the major period of occupancy the persons assembled comprise a seated or
otherwise passive audience to the performance or presentation and have their attention
focused in a common direction at a common subject” until the false claim was made by
Judge Ostrager to the Jury.

Defendant Barry Ostrager Did Not Have Jurisdiction Over Plaintiff in 2018 When

Mr. Brady Pleaded with Him to Intervene After Proving Defendant Gave a False
Jury Charge and False Law

 

92. In2018, James H. Brady sent Barry Ostrager the following letters
demanding that he fix the damage caused by his unlawful non-judicial acts, for which as
a State Employee he had a duty to intervene when presented with facts detailed in
Plaintiff's letters:

- March 23, 2018 (Exhibit 14)

- April 18, 2018 (Exhibit 16)

- May 14, 2018 (Exhibit 17)

22

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 23 of 152

- May 31, 2018 (Exhibit 18)
- August 27, 2018 (Exhibit 19)

93. Barry Ostrager refused to fix the damage his false claims made, because he
was promoted to the commercial division, because of the damage he caused to James H.
Brady. Below are excerpts from Plaintiff's letters to Defendant, none of which
Defendant Barry Ostrager has ever denied, whereas an innocent party would have
denied the assertions in Plaintiff's letters.

On March 23, 2018 the following excerpted letter was sent to Defendant Barry
Ostrager:; there was no reply (Exhibit 14)

Dear Justice Ostrager:

Enclosed you will find the original architect's floor plan which proves beyond any
doubt that the jury charge you gave was factually incorrect.

This is the actual Department of Building's approved floor plan that was seen by
the Department of Buildings, the NYPD and the Fire Department each time they
walked into one of my event spaces to perform inspections.

A PDF-sized version of this floor plan was included in my post-trial motion to
vacate, but was ignored, not even mentioned in this Court's decision. I again
presented this Court with a copy of the floor plan in my motion to reargue, and
then again at the fee hearings, and each time it was ignored. This case is currently
before the Court of Appeals and this Court's attention will help resolve the case
fairly,

The floor plan proves Your Honor's jury charge was entirely wrong. The Public
Assembly permit for Defendant’s 11" floor at 336 West 37" Street shows the
Department of Building permitted totally different room configurations from those
the Court used as part of its Jury Charge. The permit is clearly labeled “Meeting
Hall Use Group Coca Occupancy F-Ib, Total Number of Persons: 240.”

The original floor plan shows this jury charge was wrong. This is not an opinion
or interpretation, but is proven wrong in black and white by comparing the

23

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 24 of 152

enclosed DOB-approved Meeting Hall floor plan with the jury instructions above.
The $1.5 million judgment against me, and in favor of the Landlord stems
exclusively from a jury charge that is incontrovertibly proven to be incorrect.

Your Honor cannot sit by and allow this injustice. This Court must write to the
Court of Appeals and explain that you made an error at trial and the corresponding
judgment must be set aside. Otherwise, the Court must show where the law states
that a Meeting Hall must have all guests facing one direction like a theater, and
that a Personal Guarantor has to pay if that floor plan is not followed by the
corporate tenant.

As this Court knows and as the Landlord's Complaint shows, this was a case about
personal guarantees. The jury charge did not include any instructions whatever
regarding the guarantees but instead skipped over them by turning the case into
the if...then proposition that if the corporate tenants arranged chairs in a certain
direction, the Personal Guarantor was liable for $1.5 million. This was an overt
Directed Verdict against me.

The Court ignored the entire analysis of whether the Personal Guarantor had
defenses against the Landlord's claims of breach of contract but this Court ignored
that entirely and did not allow any mention of my defenses and counter-claims.
James H. Brady could not have broken the lease agreement because James H.
Brady was neither the lessee nor the tenant. The Court skipped over this entire
analysis and asserted that if the corporate tenants did not have all guests seated in
one direction passively, then I as Personal Guarantor had no counterclaims for
fraud in the inducement because you cannot be fraudulently induced into entering
an illegal use contract. That too was a Directed Verdict.

J am again asking that this Court write to the Court of Appeals and explain the
errors committed at the 2015 trial based on the incorrect jury instructions and
incorrect definitions of Meeting Halls and Banquet Halls. This Court must
acknowledge these errors, and the corresponding judgment that stems from these
errors must be set aside.

Two Days Later on March 30, 2018, Defendant Barry Ostrager's Secretary Wrote
an Email That Did Not Deny Plaintiff's Claims in His Letter Showing Defendant
the Floor plan (Exhibit 15)

 

24

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 25 of 152

94. Defendant Barry Ostrager instead replied with the absurd and untrue
assertion that there is no way for him, as a Commercial Division judge, to contact the
Court of Appeals and correct an error in a pending case. This shows Defendant Batry
Ostrager's complicity and intentional culpability in retaliating against Plaintiff.

Patricia L Della Peruta <plperuta@nycourts.gov> wrote:

Mr. Brady,

You may pick up the package on Monday. Go to Room 232 and ask the Clerk for
the package. Unfortunately Alex Giuffre will be out on Monday and I do not have
the name of his replacement at this time. If you have any difficulty, please call me
at 646-386-4150 and I will assist.

The Court reviewed your letter. There is no procedure for the Judge to
contact the Court of Appeals.

 

Patty Della Peruta

Secretary to Justice Barry R Ostrager
Supreme Court, New York County
60 Centre Street, Room 624

New York, NY 10007

On May 14, 2018 the following excerpted letter was sent to Defendant Barry
Ostrager: there was no reply (Exhibit 17)

Dear Justice Ostrager:

This Court's jury charge was that if a particular floor plan was not followed by the
tenant-corporations that meant James H. Brady was himself in breach of contract
and therefore was liable to the Landlord.

The Jury Charge was shown to be false within the time period given by this Court
to file post-trial motions. In a subsequent letter on March 2018, I provided you
with the original architectural plans that were approved by the New York State
Department of Buildings that proved your claim that “under the law” only one
floor-plan configuration was permitted by the DOB was completely wrong.

25

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 26 of 152

In my prior letter, I asked that you fix the mistake, or explain where you found the
case law. The Court has so far refused to correct its mistake. When asked if the
Court still held the same opinion regarding the Jury Charge, you first said yes and
then dismissed my question by saying you did not need to answer.

This Court knows that as a matter of law, a person or entity that was not a party to
a contract could not have broken the contract. In this case, the verdict and
judgment were based on a breach of contract by a party that was never a party to
the contract.

On May 31, 2018 the following excerpted letter was sent to Defendant Barry
Ostrager; there was no reply (Exhibit 18)

Dear Justice Ostrager:

You have ignored my repeated pleads for your help in fixing the consequences of
the totally false jury charge that you gave on June 26, 2015 that resulted in what is
now a $1.5 million dollar judgment against me.

You completely ignored fixing your mistake and did not dispute that you knew
you were lying when you told the jury that the only “legal” floor plan for a
meeting hall “is defined as a space in which during the major period of occupancy
the persons assembled comprise a seated or otherwise passive audience to a
performance or presentation and have their attention focused in a common
direction at a common subject,” otherwise personal guarantor James Brady (who
was not even a tenant or a party to the contract personally) broke the contract and
owed the Landlord what is now a $1.5 million dollar judgment.

You made up this totally false Jury charge and would not fix it because it was this
criminal act that got you immediately promoted to a Commercial Division Judge.
You were rewarded for doing the bidding of Commercial Division Judge Marcy
Friedman and Commercial Division Judge Shirley Kornreich and the other corrupt
judges that I have exposed on my website bullyjudges.com, and whom I have
repeatedly pressed to have removed and prosecuted.

Your jury charge was absolutely retaliatory and made up solely by you. The
landlord and his attorney made up the claim that my corporate tenants were
actually illegal banquet halls only to get out of paying me any judgment the jury
might award me. It was you alone that make up the false claim that if my

26

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 27 of 152

corporate tenants did not follow a particulate floor plan them I owed the landlord
what is now a $1.5 million dollar judgment.

You were rewarded for all these retaliatory acts with an immediate promotion to
the Commercial Division of the Manhattan Supreme Court. Records from a New
York Law Journal article indicates that you were not even supposed to preside
over cases above $500,000 in June 2015 because you were a brand new judge.

 

The only explanation for your conduct at the trial and refusal to fix the false jury
charge that lead to a $1.5 million dollar judgment against me is the fact that it was
getting this cruel, unjust decision against me got you promoted to a Commercial
Division Judge. There are no other explanation exists for your actions, and if
there is then explain it by June 7, 2018 in a letter that I can share with the law
enforcement agencies investigating this matter.

On August 27, 2018 the following excerpted letter was sent to Defendant Barry
Ostrager; there was no reply (Exhibit 19)

Dear Justice Ostrager:

I have a matter that needs your immediate attention. As you know, you presided
over the case of JGS Realty Co., LP v. James H. Brady. As you also know, you
were silent and never applied the law that voids personal guarantees to the facts in
this case. I need you to do so, right now. You know that as a matter of law and
public policy, the personal guarantees was voided by the landlord’s repeatedly
admitted illegal actions after the personal guarantees were signed.

You can prevent this scandal from growing and this crime from being committed
by contacting the Court of Appeals today, and telling them that of your personal
knowledge when the law is applied to the admitted facts, the personal guarantees
are void as a matter of law and public policy.

As you know, violation sheets from the department of buildings proved to you
that the landlord broke the lease and voided the personal guarantees through his
unlawful conduct, which he pleaded guilty to repeatedly in court.

The personal guarantee issued is currently before the Court of Appeals, and you
must contact them immediately and inform them of your first hand knowledge

27
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 28 of 152

that it was admitted to that the contract on which the personal guarantees applied
were voided by the landlords subsequent unlawful conduct.

Plaintiff Has Been an Enormous Force in Exposing Judicial Corruption in the New
York State Courts

95. Itis undisputed by Judge Ostrager that he took over this case in June 2015
as a brand new judge for the express purpose of retaliating against and inflicting as
much harm as possible on James H. Brady. Defendant Barry Ostrager had no
jurisdiction to hear the case.

96. Plaintiff has maintained the website www.bullyjudges.com since 2009

 

which provides a documentary history of corruption in the New York Court System, and
includes a large sample of the deprivation of rights committed under color of law by
Defendant Barry Ostrager. Plaintiff has also made numerous YouTube videos in which
he discusses in detail the collusion between judges and politicians, and the consequences
on the judiciary.

97. Defendant Barry Ostrager has retaliated in part because of Plaintiff's
journalistic activity in exposing the corruption of the courts.

98. Defendant Barry Ostrager also retaliated on behalf of Governor Andrew
Cuomo and was promoted to the Commercial Division as a reward for taking non-
judicial actions to destroy Plaintiff without any jurisdiction but under color of law,

showing a pattern of conspiracy and collusion that is clearly retaliatory.

28

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 29 of 152

99. In 2015 James H. Brady was suing Andrew Cuomo in the New York State
Court of Claims. New York Court of Claims Judge Scuccimara appointed by Governor
Cuomo dismissed the case on immunity grounds. In a scheme with Governor Cuomo,
Barry Ostrager was rewarded for the outrageous and unconstitutional destruction he
caused by being promoted to the Commercial Division.

100. In 2018, Plaintiff fought back hard in social media and through complaints
to law enforcement officials against the corrupt actions of the Judges appointed by
Andrew Cuomo. In retrenchment, they retaliated with this criminal scheme. This is
standard operating procedure for Governor Andrew Cuomo.

101. Ina May 6, 2012, a New York Times article titled “The Heavy Hitters” by
reporter Danny Hakim which states that Andrew Cuomo proclaimed “Tl am the
government’ during a recent radio interview.”

102. The article went on to say the Governor Cuomo going national could be a
challenge because Cuomo “places a premium on secrecy and bristles at opposition. As
the governors former top aide, Steven M. Cohen, recently described the Cuomo

philosophy: We operate at two speeds, get along and kill.”

Judge Barry R. Ostrager Is Not Immune From a Civil Suit For Damages
103. “Qualified immunity protects government officials from liability for civil
damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Pearson y.

29

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 30 of 152
Callahan, 555 U.S, 223, 231 (2009) (citation and internal quotations omitted), “A
defendant is entitled to qualified immunity at the pleading stage if he can establish (1)
that the complaint fails to plausibly plead that the defendant personally violated the
plaintiff's constitutional rights, or (2) that the right was not clearly established at the
time in question.” Turkmen v. Hasty, 789 F.3d 218, 246 (2d Cir. 2015).

104. “A judge is not immune from liability for nonjudicial actions, i.e., actions
not taken in the judge’s judicial capacity. Second, a judge is not immune for actions,
though judicial in nature, taken in the complete absence of all jurisdiction.” Barrett v.
Harrington, 130 F.3d 246, 255 (6th Cir. 1997).

105. “The Supreme Court has established a two-prong test to determine whether
an act is ‘judictal.’” Barrett v. Harrington, 130 F.3d 246, 255 (6th Cir. 1997). First, the
Court must consider whether the function is “normally performed by a judge.” Stamp v.
Sparkman, 435 U.S. 349, 362 (1978). Second, the court must assess whether the parties
dealt with the judge in his or her judicial capacity. Id.

106. None of the conduct described in this Complaint against Defendant Barry
R. Ostrager is “normally performed by a judge.”

107. The outrageous, cruel and retaliatory actions described in this Complaint
are not “normally performed by a judge.”

108. Making up false law and false jury charges is not conduct “normally

performed by a judge.”

30

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 31 of 152

109. Felony forfeits legislative immunity, as in the Constitutional provision
stating that officeholders “They shall, in all cases, except treason, felony, and breach of

the peace, be privileged from arrest.” U.S. Constitution, Article I, Section 6, Clause 1.

There is No Immunity for Acts Done Outside a Judge's Jurisdiction

110. “It is true that as a general rule a judge can not be held criminally liable for
erroneous judicial acts done in good faith. But he may be held criminally responsible
when he acts fraudulently or corruptly. Judicial title does not render its holder immune
to crime even when committed behind the shield of judicial office. Hx Parte

Virginia, 100 U.S. 339, 348-349 (1880).

 

111. The actions proven in this Complaint show that Defendant Barry Ostrager
deserves to be prosecuted criminally and civilly for his corrupt and fraudulent actions.

112. “A judge will not be deprived of immunity because the action he took was
in error, was done maliciously, or was in excess of his authority, but, rather, he will be
subject to liability only when he has acted in the "clear absence of all jurisdiction.”
Bradley v. Fisher, 13 Wall. 335, 80 U.S. 351. Pp. 435 U.S. 355-357.

113. McFarland v. State, 109 N.W.2d 397 (1961), “The rule as to judicial
immunity is that a judicial officer, when required to exercise his judgment or discretion,

is not liable criminally for any error which he commits, provided he acts in good faith.

31

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 32 of 152

However, any judicial officer who acts fraudulently or corruptly is responsible

criminally, whether he acts under the law or without the law.”

CAUSE OF ACTION NO. 1
42 U.S.C. §1983 — VIOLATION OF EQUAL PROTECTION
AND DUE PROCESS
114. Mr. Brady hereby incorporates by reference all averments in this
Complaint.

115. 42 U.S.C. § 1983 provides that:

Every person, who under color of any statute, ordinance, regulation, custom or
usage of any state or territory or the District of Columbia subjects or causes to be
subjected any citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any rights, privileges or immunities secured by the
constitution and law shall be liable to the party injured in an action at law, suit in
equity, or other appropriate proceeding for redress.

116. “To make out a cause of action under section 1983, plaintiffs must plead

that (1) the defendants acting under color of state law (2) deprived plaintiffs of rights
secured by the Constitution or federal statutes.” Gibson v. United States, 781 F.2d 1334,
1338 (9th Cir.1986),

117. Defendant Barry Ostrager violated Plaintiff's right to equal protection and
due process by refusing to adjudicate the Personal Guarantees and shifting the 2015 trial

into a question of whether Plaintiff's corporations were operating a meeting or banquet

hall.

32
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 33 of 152

118. Defendant Barry Ostrager had no jurisdiction to hear Plaintiff's 2015 trial,
and the trial was used under color of law to deprive Plaintiff of $1.7 million, his family
business and livelihood, and the millions IGS Realty owed for breach of contract.

119. Defendant Barry Ostrager's collusion with Governor Cuomo prior to the
2015 trial, and Defendant's collusion with the Landlord's attorney Robert Fass during the
2015 trial were overt violations of 42 U.S.C. 1983.

120. The retaliation schemes that Judge Barry Ostrager participated in during a
June 23, 2015 to June 26, 2015 related trial was filled with unconstitutional actions not
taken in the judge's judicial capacity.

121. The refusal to adjudicate the Personal Guarantees came after Plaintiff
refused to accept Barry Ostrager’s June 23, 2015 threat to accept the Landlord’s IGS
Realty offer to pay Plaintiff $50,000 to settle the dispute.

122. Threatening a party in litigation is a non-judicial act, and retaliating for not
caving into the threat, are not judicial acts.

123. Itis nota judicial act for a judge to refuse to adjudicate the issue that was
before the court.

124, Itis not a judicial act for a court to collude with one side in a scheme of

what the court would do if a party refused a settlement offer.

33

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 34 of 152

Punitive Damages

125. Punitive damages Section 1983 provides that punitive damages are
available against an individual-capacity defendant when such defendant’s conduct is
shown to be “motivated by evil motive or intent, or when it involves reckless or callous
indifference to the federally protected rights of others.” Smith v. Wade, 461 U.S. 30, 56
(1983).

126. A punitive damage award ts a limited remedy “reserved for special
circumstances.” Savarice v. Agriss, 883 F.2d 1194, 1205 (3d Cir. 1989). Whether such
special circumstances exist which would provide a basis for an award of punitive
damages is a question of fact that must be determined by the trier of fact.

CAUSE OF ACTION NO. 2
42 U.S.C. §1985 —- CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS

 

 

127. Mr. Brady hereby incorporates by reference all averments in this
Complaint.

128. Asa direct and proximate result of this unlawful conduct, Plaintiff sustained
the damages herein before alleged.

129. Section 1985(2) gives rise to a cause of action where “two or more persons
conspire for the purposes of impeding, hindering, obstructing, or defeating, in any
manner, the due course of justice in any State or Territory, with intent to deny to any

citizen the equal protection of the laws.”

34

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 35 of 152

130. Section 1985 allows an action to be brought by one harmed by a conspiracy
formed “for the purpose of depriving, either directly or indirectly, any person or class of
persons of the equal protection of the laws, or of equal privileges and immunities under
the laws.” 42 U.S.C. § 1985(3).

131. To state a claim under § 1985(3), Plaintiff must allege: (1) a conspiracy, (2)
for the purposes of depriving, either directly or indirectly, any person or class of persons
of the equal protection of the laws, or of equal privileges and immunities under the laws,
(3) an act in furtherance of the conspiracy, and (4) whereby a person ts injured in his
person or property or deprived of any right or privilege of a citizen of the United States.
Farber v. City of Patterson, 440 F.3d 131 (3d Cir. 2006).

132. “The language requiring intent to deprive of equal protection, or equal
privileges and immunities, means that there must be some racial, or perhaps otherwise
class-based, invidiously discriminatory animus behind the conspirators' action. The
conspiracy, in other words, must aim at a deprivation of the equal enjoyment of rights

secured by the law to all.” Griffin, 403 U.S. at 102.

Defendant Barry Ostrager Violated Every Element of 42 U.S.C. 1985
133. Defendant Barry Ostrager's fabricated Jury Charge that had nothing to do
with the Complaint filed by IGS Realty deprived Plaintiff of a fair trial and his violated

his civil rights. Defendant Barry Ostrager showed more than bias — he colluded with the

35

 
Case 1:19-cv-07122-LGS Document 2 Filed-07/30/19 Page 36 of 152
Landlord's attorney to railroad Plaintiff and is the direct, proximate cause of Plaintiff's
loss of $1,705,535.71 and the millions owed by the Landlord for breach of contract.

134. Defendant Barry Ostrager's collusion with Governor Cuomo to be installed
in the Commercial Division outside his jurisdiction in order to retaliate against Plaintiff
is a violation of Plaintiff's civil rights through a conspiracy to interfere with those rights.

135. Defendant Barry Ostrager's collusion with Robert Fass, attorney for IGS
Realty, was a conspiracy to engage in non-judicial acts outside Defendant Barry

Ostrager's jurisdiction in the furtherance of retaliating against Plaintiff under color of

 

 

law.
CAUSE OF ACTION NO. 3
VIOLATION OF CIVIL RICO 18 U.S.C.§1964(c)
136. Mr. Brady hereby incorporates by reference all averments in this
Complaint.

137. 18U.S.C.§1964(c) identifies four factors that must be satisfied to establish
standing for a civil RICO claim: (1) the plaintiff must be a “person” (2) who sustains
injury (3) to its “business or property” (4) “by reason of” the defendant’s violation of

§ 1962.1.”

36

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 37 of 152

138. RICO’s requirements of a culpable “person” who conducts the affairs of a
distinct “enterprise” through a “pattern” of “racketeering” in a way that proximately
causes injury.

139. To state a claim, a plaintiff must allege four elements: (1) conduct (2) of an
enterprise (3) through a pattern (4) of racketeering activity. HJ. Inc. v. Northwestern
Bell Telephone Co., 492 U.S. 229, 245 (1989).

140. Each element of a RICO claim requires additional analysis: an “enterprise”
is marked by association and control; a “pattern” requires a showing of
“continuity”-—continuous and related behavior that amounts to, or poses a threat of,
continued criminal violations; and “racketeering activity” involves the violation of
designated federal laws. Giulliano v. Fulton, 399 F.3d 381, 388 (1st Cir. 2005).

141. “A Civil RICO claims can only survive if the plaintiff alleges that its
injuries were proximately caused by the alleged RICO violation.” Kenda Corp. v. Pot
O’Gold Money Leagues, Inc,, 329 F.3d 216, 233 (ist Cir. 2003).

142. Defendant Barry R. Ostrager, Governor Andrew Cuomo and John and Jane
Doe 1-100 engaged in a RICO enterprise that has been “continuous” pursuant to the
statute.

143. The enterprise included Governor Cuomo assigning Defendant Barry

Ostager from the Court of Claims to the Supreme Court Commercial Division that he

37

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 38 of 152

had no jurisdiction to hear. Defendant Barry Ostager had no jurisdiction to hear
Plaintiffs case against IGS Realty.

144. In June of 2015 Judge Barry Ostrager was a brand new judge with
jurisdiction assigned by Governor Mario Cuomo to hear Court of Claims cases, not to
exceed $500,000,

145. Judge Barry Ostrager only had jurisdiction over Court of Claims matters in
June of 2015 and was absent all jurisdictions to hear New York Supreme Court cases.

146. The record proves Judge Ostrager created totally false law to the jury after
engaging in an ex parte meeting with Robert Fass and the Landlord.

147. The record proves the Jury Charge and Verdict Sheet Interrogatories do not
match. Defendant had the Jury find that one of Plaintiff's corporations used a certain
floor plan and then used that to rule Plaintiff had breached the contract.

148. Defendant Barry Ostager did NOT give the same charge regarding the
Landlord: that if the Landlord had engaged in actions that breached the contract, he was
liable to Plaintiff. Defendant Barry Ostager kept Plaintiff's counterclaims from the Jury
and gave a directed verdict as part of the Civil RICO scheme.

149. Plaintiff has maintained the website www.bullyjudges.com since 2009

 

which provides a documentary history of corruption in the New York Court System, and
includes a large sample of the deprivation of rights committed under color of law by

Defendant Barry Ostager. Plaintiff has also made numerous YouTube videos in which

38

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 39 of 152

he discusses in detail the collusion between judges and politicians, and the consequences
on the judiciary.

150. Defendant Barry Ostrager has retaliated in part because of Plaintiff's
journalistic activity in exposing the corruption of the courts.

151. Defendant Barry Ostrager also retaliated on behalf of Governor Andrew
Cuomo and was promoted to the Commercial Division as a reward for taking non-
judicial actions to destroy Plaintiff without any jurisdiction but under color of law,
showing a pattern of conspiracy and collusion that is clearly retaliatory.

152. Defendant Barry Ostrager colluded with the Appellate Division, First
Department judges to punish Plaintiff and retaliate against him.

153. He colluded with the higher court judges to make sure Plaintiff's defense to
the Personal Guarantees was never adjudicated. All three courts — including the Court
of Appeals, refused to carry out their judicial function, which is to make a decision.

This was part of a Civil RICO retaliatory scheme.

CAUSE OF ACTION NO. 4
FAILURE TO INTERVENE

 

 

154. Mr. Brady hereby incorporates by reference all averments in this
Complaint.
155. To establish a claim for failure to intervene, a plaintiff must prove the

following four elements: (1) that a constitutional violation was being committed against

39

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 40 of 152
the plaintiff; (2) that the officer knew, or deliberately ignored, the fact that the
constitutional violation was going to be, or was being, committed; (3) that the defendant
Barry Ostrager had a reasonable opportunity to intervene and prevent the harm; and (4)

that the defendant did not take reasonable steps to intervene. Thomas v. City of Troy, 293

 

F, Supp. 3d 282, 296 (N.D.N.Y. 2018).

156. Inthe present case, elements one and two are easily shown by the letters
and communications Plaintiff sent to Defendant Barry Ostrager during the course of
litigation and after the trial. Judge Ostrager had plenty of time and opportunity to
intervene and prevent the harm (element #3), and of course Defendant Barry Ostrager
failed to take any action (#4) and allowed the massive harm that befell Plaintiff by
having to sell his family's business and commercial cooperative in order to pay a
landlord who was statutorily prohibited from collecting.

157. Asa New York State employee, Defendant Barry Ostrager failed to
intervene and take action when he knew a great injustice had been committed.
Defendant Barry Ostrager was shown all the evidence required for him act as a state
employee.

158. The evidence shows that Defendant Barry Ostrager received and was aware

of the letters sent by Plaintiff and have never denied any of the charges.

40

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 41 of 152
159. Asa direct and proximate result of this unlawful conduct, Plaintiff sustained
damages of $1,705,535.71 and all future revenue and income generated by the

successful business he owned.

CAUSE OF ACTION NO. 5
DENIAL OF CONSTITUTIONAL RIGHT TO FAIR TRIAL

160. Mr. Brady hereby incorporates by reference all averments in this
Complaint.

161. The Fourteenth Amendment to the United State Constitution reads, inter
alia, “nor shall any State deprive any person of life, liberty, or property, without due
process of law; nor deny to any person within its jurisdiction the equal protection of the
laws.”

162. “Procedural due process rules are meant to protect persons not from the
deprivation, but from the mistaken or unjustified deprivation of life, liberty, or
property.” Carey v. Piphus, 435 U.S. 247, 259 (1978).

163. “Bias or prejudice either in the trial itself or as imposed by external events
will deny one's right to a fair trial.” Tumey v. Ohio, 273 U.S. 510 (1927).

164. Courts have found that contemptuous behavior in court may affect the
impartiality of the presiding judge, so as to disqualify such judge from citing and

sentencing the contemnors. Mayberry v. Pennsylvania, 400 U.S. 455 (1971).

41
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 42 of 152

165. Defendant Barry Ostrager's collusion with Robert Fass, attorney for IGS
Realty, was a conspiracy to engage in non-judicial acts outside Defendant Barry
Ostrager's jurisdiction in the furtherance of retaliating against Plaintiff under color of
law.

166. Defendant Barry Ostrager did far more than show bias; he changed the
focus of the trial and railroaded Plaintiff through non-judicial acts outside his
jurisdiction. Plaintiff was denied his right to trial, and the trial itself was used to destroy
Plaintiff and seize his property.

CAUSE OF ACTION NO. 6
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

167. Mr. Brady hereby incorporates by reference all averments in this
Complaint.

168. Intentional infliction of emotional distress has four elements: (1) the
defendant Barry Ostrager must act intentionally or recklessly; (2) the defendant Barry
Ostrager's conduct must be extreme and outrageous; and (3) the conduct must be the

cause (4) of severe emotional distress. Hyatt v. Trans World Airlines, 943 8.W. 2d 292

 

(1987).
169. “Itis for the court to determine, in the first instance, whether the defendant's
conduct may reasonably be regarded as so extreme and outrageous as to permit

recovery.” Restatement (Second) of Torts section 46 cmt. h (1965).

42

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 43 of 152

170. “The court must determine whether an average member of the community
upon learning of the facts alleged by plaintiff would exclaim “outrageous!” Viehweg v.
Vie Tanny Intern. of Missouri, Inc., 732 8.W.2d 212, 213 (Mo.App.1987).

171. Defendant Barry Ostrager's actions and those of the broader RICO
enterprise conspiracy have been deliberate and intentional infliction of distress on
Plaintiff as they have been trying to break him.

172. Defendant Barry Ostrager's actions are directly responsible for this
inflection of emotional distress, including the brazenness with which Defendant Barry
Ostrgaer carried on after Plaintiff had informed of them of the crimes. The level of
cruelty exhibited shocks the conscience of any civilized society.

173. Plaintiff was left penniless with no occupation, his life's savings wiped out
by Defendant's actions.

174. The website www.Studio450.com shows what a gorgeous and amazing
property he and his wife owned, and Plaintiff and his family would have nothing to live
on had the portion of his wife's money not survived Defendant Barry Ostrager’s crimes.

175. These actions have caused huge mental and physical damage to Plaintiff.

PRAYER FOR RELIEF
176. WHEREFORE, Plaintiff seeks Damages to be determined by a jury of no

less than $10 Million;

43

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 44 of 152
177. And Punitive Damages pursuant to 42 U.S.C. 1983 to be determined by a
jury at trial;

178. And any such further relief as this Court deems just and proper.

DATED: July 30, 2019

(22 Brad

James Brady, Pro se plain”
510 Sicomac Avenue

Wyckoff, NJ 07481.
bradyny@gmail,com

44

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 45 of 152

EXHIBIT 1
LGS Document 2 Filed 07/30/19 Page 46 of 152

19-cv-07122-

Case 1

VNENS ¢

 

 

$1U89 {J pue sie/jop ani

ee ORI

~Auli) pejpuny any PueSsnoy)

MOSHD S.YSIHSYO

 

sjU80 .

!
ee.

eae be

 

NON? GRAD BY

BONWNSSISN” -
WNSSinye ONY

30 SO NZIOLS
WHEN OL SOLON

 

 

 
 

 

__. Ajudgment was entered in the above entitled action on May 31, 2017 in tha Supreme Court of
the State of New York County of New York in favor of plaintiff IGS REALTY CO., LP. d/b/a iG
REALTY CO. and ageinst defendant JAMES H. BRADY for the sum of $1, 705,535.72) which judgment

fa8 dockeled on May 31, 2017 in the office of the Clerk of the County of New York and sald fudament

has been fully paid. JERE :
— AND it is cerlified that there are no outstanding executions with any sheriff or Marshall within th
State of New York, - EU

~ ©. THEREFORE, full satisfaction of said judgment is hereby acknowledged, and
The Clerks are hereby authorized and directed to make an antry of full satisfaction on the decket pf said

 

— a

Philippe lirah, Prinelpal Partner of IGS Rea
The name signed must be printed bengath

vedvese

signed personally appa ]
ally known to me or proved to. basis of satisfactory evidence fo be the individual(s
whose name(s) is (are) subscribed to the within Instrument and acknowledged to me that he/sheAh
ted the same in hishertheir capacily(ies), and that by his/her their signature(s) on the insirument
individual(s), or the person upon behalf of which the individual(s) acted, executéd the Instrum

 

 

 

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 48 of 152

EXHIBIT 2
he a
weed wie bike ae a ek

“CAase 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 49 of 152

SUPREME COURT OF THE STATE OF NEW YORK

 

 

 

 

 

 

 

NEW YORK COUNTY
PRESENT: __ BARRY R. OSTRAGER. _ PART 6 /
et oe deting
c .
Index Number : 603561/2009 INDEX NO.
! IGS REALTY CO., L.P.
vs MOTION DATE
BRADY, JAMES H MOTION SEQ. NO.
Sequence Number : 008
\__ COUNSEL FEES. EXPENSES a
The following papers, numbered 1 to , were read on this motion to/for
Notice of Motion/Order to Show Cause — Affidavits — Exhibits J No(s).
“Answering Affidavits — Exhibits. . J No(s}.
Replying Affidavits FNo(s}.

Upon the foregoing papers, It is ordered a mot is 764 kb fo Lor ney s!
” JuinhFF 4
tnt then’ ef awarding plaiahe fogetne” wih

e 3350, 500
fs in TH oe Ly ‘rade from Tang

 

 

MOTION/GASE IS KRESreeIryLLT nerenney ry woot
FOR THE FOLLOWING REASONS):

Dated: o- VI / ] handy ye 15.0,

BARRY R. “OSTRAGER

 

4. CHECK ONES ccssssssssssssssssvsesssssnvevenesesrensnnnensennssnsreqnnnvcneserany ASE DISPOSED - ((] NON-FINAL DISPOSFBON
3. CHECK AS APPROPRIATE: scssssssessssessesssenneees MOTION IS: [IGRANTED [|DENIED GRANTED INPART  [JOTHER
|g CHECK IF APPROPRIATES cssssssssssssossssseesnvssanssssseennensssusnane {_] SETTLE ORDER (SUBMIT ORDER

[_}DO NOT POST C] FIDUCIARY APPOINTMENT [| REFERENCE

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 50 of 152

EXHIBIT 3

 
Pee eo
Wak eo owoy ays ou

“* ‘Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 5i of 153”
SUPREME COURT OF THE STATE OF NEW YORK

 

 

 

 

 

 

 

NEW YORK COUNTY
BARRY R. OSTRAGER
PRESENT: co PART 6.
Justice

( Index Number : 603561/2009
| es REALTY Co., L-P. INDEX NO,
_ MOTION DATE
{ BRADY, JAMES H
SEQUENCE NUMBER : 009 MOTION SEQ. NO.
q MONEY JUDGMENT —

The following papers, numbered 1 to , Were read on this motion to/for

Notice of Motlon/Order to Show Cause — Affidavits — Exhibits | No(s).
Answering Affidavits — Exhibits. . ] Rois).
Replying Affidavits - No(s).

 

Upon the foregoing papers, it is ordered that this motion is ave, aud

Cleve is dive ctedl berle Jig Tp
‘LR

TGS Realty © dfsja LS a Co,
jn phe Gera © |

y plus bee sh At Tg
va May “ 7) ja Gali har,

5 [soe ie ‘

‘
1 est OVE Or (see ‘ier er, Te ke

 

 

a
=
*%
“V
=
=
S
X\
Q
x

. CAN, JS the wil
This dafernuhk Aaut- fase PoFe o
Sool, orci, dl afer nor agave Yon 1 SS

does e Aq Su yeu

FOR THE FOLLOWING REASON(S):

WON 8 eee ree eee ee eee = eee 7 ~

 

bag Vu
oawt:_fpuil 7,20/ ? BARRY R. OSTRAGER

4. CHECK ONES ccsccscssssesssssossveccosssscessssssveonsessecsrsssercansonsnssseses SE DISPOSED =] NON-FINAL DISPOSITION ~
2. CHECK AS APPROPRIATE? wesc MOTION IS: KJGRANTED ["] DENIED [_] GRANTED IN PART [_] OTHER
3. CHECK IF APPROPRIATE! vascccccscescssssessserensssernrnsserreeesentes SETTLE ORDER _] SUBMIT ORDER

[1 DO NOT POST fj FIDUCIARY APPOINTMENT {_]REFERENCE

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 52 of 152

EXHIBIT 4

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 53 of 152

January 27, 2017
James H. Brady
450 West 31° Street
12" Floor
New York, NY 10001
bradyny@gmail.com
Justice Barry Ostrager
60 Centre Street
Room 341]
New York, NY 10013

Re: /GS Realty Co., LP ve James H. Brady. Index No. 603561/2009

Dear Justice Ostrager:

This Court has scheduled Oral Arguments for February 17, 2017 to review Plaintiff's legal fees
totaling nearly $1.3 million. In order for the Court to award those fees, Your Honor would have to
make two independent determinations. First, that the Landlord did not change and increase the risk
under the leases from the good and satisfactory “as is” condition, compliant with fire safety laws, after
Defendant signed the Jeases and personal guarantees. Secondly, the Court would have to determine
that the Landlord did not act unlawfully in converting the building from the “as is” factory building
condition guaranteed in the leases, to a DOB non-conforming office space building. New York
blackletter law is clear that it is contrary to public policy that a landlord benefit from his own unlawful
acts.

As the entire Record, including numerous admissions from Plaintiffs themselves, supports a
determination that Plaintiff did increase the risk under leases, Defendant should be relieved of all
liability under the personal guarantees. Furthermore, Plaintiffs acknowledged throughout their
testimony and court papers that Mr. Ifrah deliberately altered the building in contravention of its
certificate of occupancy, which means this Court cannot award Plaintiff legal fees, or any award

stemming from his unlawful conversion of the subject building.

1
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 54 of 152

Once Defendant proved in Court that he had conducted due diligence, that the building was in
an “as is” condition that allowed Plaintiff to operate his businesses legally, and that Mr. Hah had
increased the risk under the leases, the Court should have relieved Plaintiff of all liability under the
personal guarantees, and should not have reached the other issues the Court put before the jury.

Enclosed please find Appellant-Defendant's Reply Brief to the Appellate Division, First
Department, January 11, 2017, so Your Honor can see all of Defendant's case was undisputed by IGS
Realty.

Whether the Landlord changed the risk under the leases was the first question Plaintiff
presented to the Court, and it remained a question never addressed by the Court and never given to the
jury. This error formed the basis for the incorrect jury instruction that led to a directed verdict.
Furthermore, as shown in the accompanying Reply Brief, pursuant to the leases, Your Honor should
have determined whether the Landlord changed the risk. Instead, the Record shows that the issue of
the Personal Guarantees was never addressed directly by Your Honor at trial. Accordingly, the issue

has not been adjudged.

Mr, Ifrah and His Attornevs Repeatedly Admitted They Changed the Risk

The Record is filled with admissions that the landlord changed the “as is” legal condition from
good and satisfactory factory building to an illegal office building, where it became illegal and
impossible for Defendant to operate his business.

There is no doubt at the time after the leases were signed Mr. Ifrah started renting space and he

had to pay a lot of fines to do it. He spent a lot of money to bring it into legal condition, to

actually rent full offices which are far more valuable than anything else. (Transcript, June 26,

2015, 380:23 — 381:3). (R.883)

In their Verified Answer to Appellant's Complaint in Supreme Court before Justice Madden

(prior to consolidation), IGS Realty states in paragraph 4: “Denies the allegations of paragraph 41, 42

and 43, except admits that Brady conducted due diligence. NO OFFICE TENANTS — emphasis

2
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 55 of 152

added.” 5. “Denies the allegations of paragraph 45, except admits that the building complied with fire
safety laws and that there were no violations relating to office use in the building.” (September 29,
2014). (Record No. 209).

This is a full admission that the Landlord changed and increased the risk. When Mr. Brady
signed the leases, there were no office tenants in the building. Plaintiffs themselves acknowledge that.
This admission is all the Court needs to find that Defendant is relieved of liability because of the
Landlord's increase of risk. Mr. Ifrah is well aware of this, which is why they offered $50,000 to settle

In paragraph 46 on page 6, Mr. [frah admits that I stopped the original check to ensure that his
due diligence was conducted properly and thoroughly, specifically the legality of the premises, the
certificates of occupancy, and the “as is” condition of the building required to operate my meeting
halls.

In their answers to Defendant's counterclaims, Mr. Fass admitted that I conducted due diligence
prior to entering into the leases, and that at that time there were no office tenants in the building. In
their Answer, Mr. Fass also admitted that the building complied with fire safety laws at the time the
leases were signed,

Paragraph 54 of the Lease Rider specificaliy states: Tenant acknowledges that it has inspected
the Building and the demised premises, and agrees that Landlord shall not be obligated to make any
improvements, or alteration to the demised premises to prepare it for the Tenant's occupancy or
otherwise, and that Tenant will accept the demised premises in "as is" condition.

The objection sheets and the violations prove that the illegal conversion of the subject premises
is what caused the New York City Department of Buildings to refuse to renew the tenant/principals
temporary certificates of occupancy, Under the express terms of the lease stated above “/a] signed
writing against whom the party against wham enforcement of the chance, modifications, discharge or

abandonment is sought...” was required. The ieases are loft leases and the conversion was clearly a

3
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 56 of 152

modification.

The objection sheets and violations found in the record clearly show that the subject premises
were unlawfully changed from the loft building given upon the execution of the leases. Furthermore,
Plaintiff Philippe Ifrah admits that there were no violations for illegal use until after the last lease was
executed in 2003.

In an affidavit filed in a related action West Side Loft v. IGS Realty Co., LP., 650463/2009 (the
“Affidavit Further Support”) Plaintiff Philippe Ifrah stated under oath that the parties agreed to leasing
and acceptance of the demised premises “as is” and that Brady performed due diligence, by stating in
pertinent part: “Brady not only admitted to inspecting the premises and acknowledging that the spaces
could be transformed into meeting spaces but he personally guaranteed all three leases. In fact,
plaintiffs had am experienced engineer and family member also reviewed the leases before they were
executed. Brady is a savvy businessman who has entered into many commercial leases and knew
exactly what to look for.”

Going back to the start of this litigation, Mr. [frah ackowledged the same set of facts as
Defendant has: “The permitted use of the subject building was known or readily ascertainable to each
of the Plaintiffs in 2002 and 2003 when they entered into their respective Leases. The zoning use for
the subject building has not changed since the time the Plaintiff's entered into their respective Leases.
The permitted use of the subject building has not changed since the time the Plaintiffs entered into their

respective Leases.” (Affidavit, May 20, 2009, Para 14 & 15, R).

The Law Regarding Personal Guarantees Relieves Defendant of All Liability, and Has Never
Been Disputed

In this case, what was guaranteed by Defendant was not what Plaintiff delivered. In his opening

statements, Mr. Fass himself quotes case and legal authorities supporting Defendant's counterclaim that
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 57 of 152

the Landlord's undisputed breach of the contract and conversion of the building to non-conforming

office space
There can be no doubt that a guarantor, when sued alone by the creditor, can succesfully resist
by showing that the creditor, on his part, totally failed to perform his obligations to the
principal. In other words, the guarantor may always assert a total failure of consideration. This

is because the guarantor is not liable unless the principal is bound (4 Williston Contracts
(rev.ed) 1213).

As shown in Appellant's Brief, the Landlord testified that he changes the use to office space
because it was more profitable. The personal guarantees pertained to an express lease that was a
meeting hall lease in a loft factory building that was compliant with applicable laws. The personal
guarantees did not pertain to meeting hall use in an illegal office building that did not comply with
local fire and safety regulations and laws.

This Court has held that a personal guarantee ofa lease is unenforceable when “the occupancy
is illegal and in violation of the certificate of occupancy.” Kaplan v. Synergy, Inc., 23 Misc.3d 1123
(Civ, 2009).

A guaranty must be construed “in the strictest manner” (White Rose Food v. Saleh, 99 NY2d
589, 591 (2003). Guarantor cannot be held responsible for the failure of the principal to perform. An
alteration of the contract to which the guaranty applies will serve to discharge the guarantor's obligation
unless the guarantor has consented to the alteration. See White Rose Food v Saleh, 99 NY2d 589
(2003|; Davimos v Halle, 35 AD3d 270 [2006.]). “A guarantee will not be enforced where the
modification”... impermissibly increased [guarantor's” risk] without his consent.... White Rose Food,
99 NY2d at 591; Arlona Lid. Partnership v 8th of Jan. Corp., 50 AD3d 933, 934 9 (First Dept 2008)
(refusing to enforce guarantee of commercial lease where underlying lease was modified).

In a case with facts strikingly similar to those presented here, the Fist Department has held
“whether, in circumstances presented, an obligation to refrain from conduct which results in the loss of

a building's certificate of occupancy should be implied involves factual questions for resolution at

3
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 58 of 152
trial.” Roli-Biue, Inc. v. 69/70" Street Associates, 119 A.D.2d 173 (1% Dept. 1986).

Roli-Blue involved a tenant secking damages because the Department of Buildings refused to
issue a certificate of occupancy and public assembly permits necessary for the tenant to continue to
conduct its restaurant business. The reason for the DOB's refusal was the landlord's structural changes
made subsequent to the commencement of the lease which did not comply with code regulations. Very
on point with the present case is the following:

the tenant's intended use of the premises as a restaurant was lawful. Indeed, clause 2 expressly
provides that the tenant may use the premises as a restaurant. While plaintiff has failed to
support its contention of a statutory requirement that the landlord maintain a valid certificate of
occupancy, such a duty may be inferred from the lease itself. Use of the premises as a
restaurant was lawful at the lease's inception, and a temporary public assembly permit had been
issued. While ordinarily, denial of a license precluding further use of the premises lawfully for
the purpose for which the lease was intended does not relieve a lessee of an unconditional
promise to pay rent where the parties understood that a license had to be obtained before the

premises could be so used, a landlord may not render the contemplated use unlawful by his
own conduct.

 

IGS Rendered the Personal Guarantees Unenforceable When It Took Action That Made It Hlegal
and Impossible for Plaintiff's Businesses to Operate Meeting Halls on the Leased Premises

In the present case each of the guaranties was executed contemporaneously with the respective
leases and must be read in conjunction with those leases to assure that the proposed use of the space for
meeting halls was legally permitted. New York law is clear that the actions that Respondent has
admitted to on the Record renders the personal guarantees unenforceable, relieving Appellant of all
liability:

In construing a contract, "An interpretation that gives effect to all the terms of an agreement is
preferable to one that ignores terms or accords them an unreasonable interpretation.” Therefore,
“where two seemingly conflicting contract provisions reasonably can be reconciled, a court is
required to do so and to give both effect.” Furthermore, “agreements executed at substantially
the same time and related to the same subject matter are regarded as contemporaneous writings
and must be read together as one.” Perlbinder v. Board of Managers of the 411 East 53” Street
Condominium, 65 A.D.3d.
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 59 of 152
It is Against Public Policy to Allow_a Scofflaw to Benefit from His Misfeasance

The New York Court of Appeals has held that: “No one shall be permitted to profit by his own
fraud, or to take advantage of his own wrong, or to found any claim upon his own iniquity, or to
acquire property by his own crime. These maxims are dictated by public policy, have their foundation
in universal law administered in all civilized countries, and have nowhere been superseded by statutes.”
Carr v. Hoy, 2 NY 2d 185, 187 (1957).

“Tt is the settled law of this State (and probably of every other State) that a party to an illegal
contract cannot ask a court of law to help him carry out his illegal object, nor can such a person plead
or prove in any court a case in which he, as a basis for his claim, must show forth his illegal purpose.”
Stone v. Freeman, 298 NY 268, 271 (1948).

“Public policy prohibits recovery under a contract where a party engages in fraud or other
immoral conduct in tendering its performance under the contract. As the Court of Appeals stated in
McConnell v. Commonwealth Pictures Corporations, 7 NY 2d 465 (1960), “long-settled public policy
closes the doors of our courts to those who sue to collect the rewards of corruption.”

In the present case, there is no dispute that Plaintiff is operating a non-compliant building of
illegal office spaces that violates the Special Garment District. The Plaintiff is a chronic scofflaw

“When a court is asked to vacate an arbitral award on public policy grounds, “the focus of
inquiry is on the result of the award itself.” Matter of NYS Corrections Officers v. State of New
York, 94 NY2d 321, 327 (1999). “When the final result creates an explicit conflict with other laws and
their attendant policy concerns,” a court will vacate the award. Jd.

In light of the foregoing and the attached Reply Brief, this Court should ude the February 17,
2017 Oral Arguments to make a determination that the Landlord Mr. Ifrah changed the risk under the
leases, relieving Defendant of all liability under the Personal Guarantees. That is what the blackletter

law of the State of New York requires this Court to do. The Court should further determine that the

7
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 60 of 152

Landlord cannot be rewarded for having broken the law, which is what the jury award amounts to as
there is no dipuste that Mr. Ifrah unlawful altered the building from the condition it was in when

Defendant guaranteed the leases, thereby relieveing Defendant of all liability.

Thank you,

fs/

James Brady, Pro se Plaintiff
450 West 31° Street

12" Floor

New York, NY 10001

(201) 923-5511
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 61 of 152

EXHIBITS

 
“®
AY

+
re

a

at

10

il

12

13

14
15
16
17
18
19
20
21
22
23
24
25

26

 
  

 

 

 

 

 

 

 

1 of 12

SCEF DOC. NO. 292 a RECEIVED NYSCEF: 03/07/2017
a i
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK : CIVIL TERM : PART 61
. x
IGS REALTY CoO., LP. d/b/a. IGS REALTY coa.,
Plaintiff
Index Number
- against - 603561/09
JAMES H. BRADY
Defendant
x
- 60 Centre Street
New York, New York
February 17, 2017
BEFORE:
HONORABLE BARRY R. OSTRAGER, Justice
APPEARANCES
Attorneys for Plaintiff:
GREGORY SHEINDLIN, ESQ. |
100 Church Street - 8th Floor
New York, New York 10007
Attorneys for Defendant: _
JAMES BRADY, Pro Se
DENISE WILLIAMS, RPR
Official Court Reporter
dw

 
Case1:19-cv.07

 

(FILED: NEW YORK COUNTY CLERK 0370772017 09:47 AM

INDEX NO. 603561/2009

- N¥YSCEF DOC. NO. 292 RECEIVED NYSCEF: 03/07/2017

Cy

or

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

 

“>

- Proceedings -

THE COURT: This ig the Plaintiff's motion for
attorneys' fees pursuant to the provisions in the guarantee
executed by the Defendant which had an attorneys' fees
clause.

Let me hear the Plaintiff.

MR. SHEINDLIN: Gregory Sheindlin for Plaintiff
IGS Realty. | |

Your Honor, as set forth in detail in the motion
papers, Plaintiffs are seeking attorneys fees in the amount
of $405,835 with pre-judgment interests associated with the
attorneys' fees in the amount of $159,745. The total
amount is $565,580. It's all set forth in the papers also.

What we describe in there is what we believe are
the reasonable services that were provided, the reasonable
fees or costs in association with those services would come
to the amount that I just described to you, and all of it's
associated with the fact that there were from 2008S to 2015
there were approximately eight different -- not
approximately, there were eight different litigations
associated with these three commercial leases and Mr. Brady
was the guarantee for each of these three leases for his
closely held companies that were leasing the spaces.

THE COURT: Mr. Brady.

MR. BRADY: Judge Ostrager, there are a number

different things that I want the Court to consider and a

 

 

dw

2 of 12

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 64 of 152

 

 

 

 

 

 

 

 

 

FILED: NEW YORK COUNTY CLERK 03/07/2017 09:47 AM) INDEX NO. 603561/2009
~NYSCEF Doc. NO. 292 RECEIVED NYSCEF: 03/07/2017
#

‘ 3

Co 1 - Proceedings -

2 number of different ways that this Court can rule in my
3 favor on the personal guarantee.
4 Okay, there are a number of different ways that
5 somebody is not liable for personal guarantee, one of them
6 is if they change the risk. That was stressed to you asa
7 Matter of law, a guarantor is not responsible if the
8 landlord changes the risk. [It was undisputed throughout,
3 in fact it was said over and over again, that he increased
10 the rent, that he changed as is condition. Mr. Fass goes
11 into great detail throughout three separate occasions --
12 four separate occasions its mentioned, sir, in regard to
ao 13| - the -- in their complaint itself, the reply, their answer,
14 it states that the building was compliant, that we did our
15 due diligence, that at the time there were no other law
16 office in the building and that it had a valid certificate
17 of occupancy and that it had -- there were no office use
18 tenants in the building.
19 As you know and as it was admitted over and over
20 again during the trial, that that risk was increased
21 according to Paragraph 21 of the lease. Also, that any
22 change or alteration would need to be in writing.
23 I would need the Court to consider, too, there
24 would be no purpose of anybody doing their due diligence
C, 25 and inspecting the building if the Landlord was allowed to
_ 26 later subsequently change that and increase the risk and
‘ 3-of 12 :

 

daw
 

 

 

(FILED: NEW YORK COUNTY CLERK O37077

 

 

 

 

NYSCEF DOC. NO. 292 . " RECRIVED NYSCEF: 03/07/2017
° 4

C, 1 - Proceedings-
2) make it something else that was not guaranteed.
3 Specifically, they admit that with my client was aware of
4 what exactly needed to be done in regard to inspecting the
5 building. He admitted that all these different things, 80
6 the risk was increased when he no longer stayed compliant
7 with the law and he turned it any an illegal office
8 building. That would be the first grounds for you to
9 vacate this.
10 The second would be on the public policy ground.
12 If you review and recall Robert repeatedly the landlord
12 admitted and his attorney admitted that he completely

C, 13 violated the law and it was no big deal, nobody else was
14 following it and all these other things, and that he admits
15 that and they got multiple fines starting in the hundreds
16 into the thousands for not staying complaint and under that
17 also you are not supposed to permit somebody who benefits
18 the public policies that the words the courts propose two
19 people to do that.
20| . ' §o, that's the second one, and the third one is
21 the fraud and the inducement where it is undisputed that at
22 the time the leases were gigned I did the inspections and
23 he did not tell me that he was going to turn it into an
24 illegal office building which would violate my use, and ag

co 25 you recall, and it's throughout the record, they don't deny
26 any of this and it's affecting my ability to get a

, | dw

oh

4 of 12

 
FILED: NEW
“NYSCEF DOC. NO. 292

wl

we

 

 

10
11
12
13
14
15
16
17
18
139
20
2i
22
a3
24
25

26

 

-Proceedings-
certificate of occupancy. The only thing Mr. Fass did was
Say over and over again that it's no big deal and that we
could operate without a certificate of occupancy, which is
not true.

The third -- the fourth thing I would like you to
really consider, sir, is as you know you had an ex-party
communication with them prior te the trial which shouldn't
happened and it was during that time period that they
frauded you and they told you that the only use of a
meeting hall, and it's a quote from you, and you then
subsequently turned around and told that to the jury --~'
gave a jury instruction that -- okay, and you said that it
was defined by law, that it was the lawful definition, that
the meeting hall is defined as a space in which during the
major period of occupancy the premises assemble comprige of
the seated or otherwise passive audience to a performance
in presentation or presentation and have their attention
focused in a common direction at a common subject. This
gentleman had spoken about there being eight different
proceedings that were before this Court. That was never
asserted, sir. They told it to you in secret and it was
wrong, deliberately wrong. Their architect never mentioned
that and I subsequently said to you our public assembly
plan which in the record on appeal is on page 1,005 and it

showed that your instruction was completely wrong. There

 

 

dw

5 of 12

ea ee eo Cane ee

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 67 of 152

 

 

 

 

 

 

(FILED: NEW YORK COUNTY CLERK 0370772017 09:47 AM INDEX NO. 603561/2009
NYSCEF DOC. NO. 292 RECEIVED NYSCEF: 03/07/2017
, 6
1 -Proceedings-
. 2 was no -- for us to get a meeting hall permits the table
3 had to show tables facing all different rooms with no
4 common area. That was all for the due diligence. .So, what
5 you told the Court as being the lawful definition of what a
6 meeting hail is was not true. They knew it was not true.
7 They passed that to you as being truth when it wasn't.
8 As far as the ~~ as far as, two, the breach of
9 contract and prejudice that that caused, one of the jurors
10 | was at the... were shown pictures with different things
11 that didn't match what you said was the lawful definition
12 and only way the meeting hall could be used, which was not
Cy 13 true, it wasn't the lawful thing it was abbreviation in his
14 own handbook due diligence proved that wasn't the case.
15 They presented that to you in secret and I don't understand
16 why the Court wasn't suspicious of that when it was never
17 raised, in fact, during the trial by anybody. As far as
18 any of the witnesses never said I was using my space
19 lawfully, but I was able to be bashed as a liar -- lied to
20 the building department, lied to the building department,
21 all those things were never claimed by the witnesses that
22 day and the only person that was operating illegaily which
23 was proven over and over again was the landlord. All the
24 violations that he was building was using his floors. Not
C, 25 one of those objection sheets violation sheets was from my
26 illegal use. We did everything right. He did everything
« 6 of 12

 

dw

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 68 of 152

 

 

 

 

 

 

 

(FILED: NEW YORK COUNTY CLERK 03/07/2017 09:47 AM - INDEX NO. 603561/2009
NYSCEF DOC. NO. 292 RECEIVED NYSCEF: 03/07/2017
7
CO 1 -Proceedings-
2 wrong. Public policy against it that mandates what he did
3 do talk about the further inducement he had no intention of
4 keeping my lease. He used me every other -- the violation
5 sheets proved he got up te my floors. 11 floors he turned
6 into illegal offices and it was my turn they acknowledge
7 ever and over again the best use is office. So he used me.
8 He didn't had no intention of staying compliant. He never
9 told me he wasn't. He admitted that.
10 So in those ways I ask the Court to consider that
‘11 in eliminating these fees and doing the right thing. The
12 architect in saying that to you he never said it -- there
CC; 13 were eight different proceedings that were mentioned. The.
14 assertion that to be a legal meeting hall you had to face
15 one direction in a passive way was never claimed in any of
16 thoge preceedings. It was first claimed by you in your
17 jury instructions and was wrong.
18 THE COURT: Mr. Brady, unfortunately I don't have
19 a great deal of discretion here. “There was a jury trial in
20 this case and the jury effectively rejected any claim that
21 the landlord improperly altered the lease by finding no
22 breach on the part of the landlord.
23 I understand that you have an appeal from the
24 jury verdict. It's not relevant to this proceeding, but
Cc, 25 you know that I pleaded with you to resolve this jury case
26 before the case was submitted to the jury.
° T of 12

dw

 
07/30/19 Page 69 of 152
Case 1:19-cv-07122- LGS Document 2 | Pied 07 g oe io. 603561/2008

RECEIVED NYSCEF: 03/07/2017

  

FILED: NEW YORK COUNTY CLEFT
NYSCEF poc. NO. 292

 

 

 

 

i ——
8
(Cy L -Proceedings -
| 2 MR. BRADY: Yes, you did, Your Honor. Yes, you
3 did.
4 THE COURT: There ig a jury verdict in the cage. i
5 It's on appeal. Under the law, in accordance with the
6 documents that you are bound by, the Plaintiff is entitled
7 to attorneys’ fees. I don't think that the landlord is
8 entitled to attorneys! fees from for the federal cage which
9 I believe was unnecessary. I believe some of the
10 attorneys' fees were excessive, so I'm entering judgment on
11 the attorneys' fee claim in the amount of $350,000 plus
12 interest at the statutory rate from January Ist, 2012, but
Cy 13 I'm staying enforcement of the judgment pending the outcome
14 of your appeal from the jury verdict in this case. And my
15 hands are tied here. ‘There are legal consequences that
16 flow from the jury verdict that was entered in this case
17 and guarantees that you executed.
18 _ So, that's the judgment of the Court. The
19 Plaintiff will order a copy of the transcript and I will
20 enter a short form order memorializing what appears in thig
21 transcript.
22 MR. BRADY: Thank you. And I would like to add
23 something else, Your Honor. Do you still believe what you
24 told the jury as the instruction of what meeting hall a
‘ 25 legal definition of meeting hall is is correct?
~~ 26 THE COURT: I believe the jury instruction that I
- ; . ;

 

 

8 of 12 . aw

 
 

 

Mm) UE 70 PiDeRe NO. 603561/2009

 

NYSCEF DOC. NO. 292 RECEIVED NYSCEF: 03/07/2017

10
1k
12
© 13
14
15
16
17
18
19
20

21

22 |-

23

24

Cc 25

26

 

building that didn't apply that it entered into. The jury

 

~Proceedings-
gave was the proper jury instruction which is why I gave
the jury instruction that I gave to the jury.

MR. BRADY: Right, but didn't the floor plan and
pool plan that was submitted to you prove that what you
told the jury was wrong, sir?

THE COURT: I'm not here to answer your
questions. There ia a judgment that was entered on a jury
verdict. You are appealing that judgment to the Appellate
Division. Whatever the Appellate Division decides will be
the outcome of the case unless one of the parties takes the
Appellate Division decision to the New York Court of
Appeals. But for purposes of today all I'm dealing with is
an application for attorneys’ fees based on unambiguous
language in the guarantees that were executed predicated on
the outcome of the jury trial.

MR. BRADY: JI appreciate that.

Your Honor, there are two other things. First of
all when you talk about the unambiguous language,
unambiguous language of which I did point out to you had
said with that the guarantee and it pertained to the space
Paragraph 21 of the as is condition that it was in at the
time possession was taken.so it was -- that's very

unambiguous. It did not pertain to-.an illegal office

 

was never given the option of, by you, you declined to

 

dw

9 of 12

 
 

 
 

NYSCEF DOC. NO. 292

}

oe

17

 

Mel Gey W EV aap te RD Ee Fi A tg) Page /1 THDEX2NO. 603561/2009
RECEIVED NYSCEF: 03/07/2017

 

 

10
11
12
13
14
15
16

18
13
20
21
22
23
24
25

26

 

‘were exhibits in the case that he doesn't have and you do

10

-Proceedings-
actually use the proper standard for me as the guarantor.
You had said I didn't mention it at all, but you said to me
the guarantor if I was constructively evicted that that's
not the standard. The standard is did they increase the
risk and change the as is condition. That's a standard.
Is it against public policy to award a man who did what he
did and by the way you held me to a double standard, You
made it that the jury would have to decide also that and I
had to prove my innocence. where you didn't say with the
landlord if he was shown to have acted unlawfully he would
not be able to collect on the guarantees.

So, I just want. that on the record. And the
other part-I would ask the Court for is we are missing some
of the exhibits on the previous trial and I was hoping that
you would instruct the other side to help us with the few
exhibits that we need: to for the record together.

THE COURT: Yes. Each side is responsible for
collecting at the end of the trial its own exhibits, but
given that Mr. Brady is, proceeding pro se, if Plaintiff in
this case has exhibits that Mr. Brady is missing I would

expect that you would, as a courtesy to him to enable him

to effect his appeal, provide him with any documents that

have. Is that agreeable to you?

MR. SHEINDLIN: Yes. If we possess the exhibits.

 

 

dw

‘10 of 12

 

 
 

  
 

  

FILED: NEW Y¥Ok

 

 

 

 

NYSCEF DOC. NO. 292 . RECEIVED NYSCEF: 03/07/2017
.
11
Cy i -Proceedings-
2 its agreeable,
3 | THE COURT: All right. So I will take your word
4 as an officer of the court that you're going to cooperate
5 with Mr. Brady to enable him to have a complete record on :
6 appeal in this case, :
7 MR. SHEINDLIN: Right. Wherever it's reasonable. :
8 Only reason I say that, I am not handling the appeal, Mr.
9 Fass is but my understanding is there may have been some
10 parts of the record or the creation of. the record that were
11 - including documents that were the record on appeal that
12 were including documents that were not part of the
Cc, 13 underlying record. So, I don't know what Mr. Brady is
14 going to ask for. If its exhibits that we possess, of
15 course, we are going to give it to him.
16 THE COURT: All we are agreeing to and you have
L7 agreed to do this, is to provide Mr.. Brady with any
18 exhibits that were admitted into evidence at trial which he
19 doesn't have copies of.
20 MR. SHEINDLIN: The answer is yes.
21 THE COURT: All right. So, Mr. Brady he's”
22 going -- opposing counsel is going to do that --
23 MR. BRADY: Thank you, Your Honor.
24 THE COURT: -- for you and whatever the outcome
25 is of the appeal that would be dispositive as to whether or
LU 26 not these attorneys! fees will be tacked on to the

 

11 of 12°:

 
FILED:
NYSCEF DOC. NO.

 

4

lu

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26

 

RECEIVED NYSCEF: 03/07/2017

 

 

-Proceedings-

judgment.

MR. BRADY: Thank you.
THE COURT: Okay.
MR. BRADY: Thank you.
¥ * *
CERTIFIED THAT THE FOREGOING IS A TRUE AND

ACCURATE TRANSCRIPT OF THE STENOGRAPHIC MINUTES IN

THESE PROCEEDINGS. 7 Si

7
DENISE WILLIAMS, RPR

 

Official Court Reporter

12

 

 

 

dw

12 of 12

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 74 of 152

EXHIBIT 6

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 75 of 152

SUPREME COURT OF THE STATE OF NEW YORE

COUNTY OF NEW YORK
aunt nen nee nee eee nee nennene neenennneeneennenecenees y
IGS REALTY CO., L.P.,
Plaintiff, Index No, 603561/2009
vs
JAMES EH. BRADY,
Defendant.
pane eee ese nee nee neneneneneeneneneuemenumen X

DEFENDANT'S OPPOSITION TO PLAINTIFE'S MOTION
FOR SETTLEMENT OF JUDGMENT

The fees that Plaintiffs seeks pertain to legal fees associated with the prosecution of a personal
guarantee. Defendant is currently appealing the improper jury instructions that led to the unjust and
wrong verdict by the jury. The court is asked to set aside any Decision till the outcome of the
Appellate Division Decision.

The Record in this case shows and undisputed (and freely admitted to by the landlord and his
attorney) that the landlord breached the lease, the Merger Clause and the law when he unlawfully
converted his Garment factory building into an illegal office building after the leases and personal
guarantees were signed.

At no point prior to Mr. Fass's opening statements had Respondent's made the assertion that
Defendant was operating a banquet hall in contravention of the certificate of occupancy that was for a
meeting hall. The lower Court charged the jury with the instruction that if they found that Defendant
was operating a banquet hall, they must find for Respondent. The Court did so based on the false
definitions of meeting and banquet halls given by Mr. Fass during his opening remarks. The Court
further did NOT instruct the jury that if they found that Mr. Ifrah had violated DOB regulations, and
had lied to the NY Fire Department about having a fire alarm system, they must find for Defendant

Brady.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 76 of 152

in his opening statements, Mr. Fass himself quotes case and jegal authorities supporting
Defendant's counterclaim that the Landlord's undisputed breach of the contract and conversion of the
building to non-conforming office space

There can be no doubt that a guarantor, when sued alone by the creditor, can succesfully resist

by showing that the creditor, on his part, totally failed to perform his obligations to the

principal. In other words, the guarantor may always assert a total failure of consideration. This

is because the guarantor is not liable unless the principal is bound (4 Williston Contracts

(rev.ed) 1213).

The Landlord testified that he changes the use to office space because it was more profitable.
The personal guarantees pertained to an express lease that was a meeting hall lease in a loft factory
building that was compliant with applicable laws. The personal guarantees did not pertain to meeting

hall use in an illegal office building that did not comply with local fire and safety regulations and laws.

PUBLIC POLICY MANDATES THAT LANDLORD IFRAH NOT PROFIT FROM BEING A
SCOFFLAW

The New York Court of Appeals has held that: “No one shall be permitted to profit by his own
fraud, or to take advantage of his own wrong, or to found any claim upon his own iniquity, or to
acquire property by his own crime. These maxims are dictated by public policy, have their foundation
in universal law administered in all civilized countries, and have nowhere been superseded by statutes.”
Carr v. Hoy, 2 NY 2d 185, 187 (1957).

“It is the settled law of this State (and probably of every other State) that a party to an illegal
contract cannot ask a court of law to help him carry out his illegal object, nor can such a person plead
or prove in any court a case in which he, as a basis for his claim, must show forth his illegal purpose.”
Stone v. Freeman, 298 NY 268, 271 (1948).

“Public policy prohibits recovery under a contract where a party engages in fraud or other

immoral conduct in tendering its performance under the contract. As the Court of Appeals stated in

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 77 of 152

McConnell v. Commonwealth Pictures Corporations, 7 NY 2d 465 (1960), “iong-settled public policy
closes the doors of our courts to those who sue to collect the rewards of corruption.”

In the present case, there is no dispute that Plaintiff is operating a non-compliant building of
illegal office spaces that violates the Special Garment District. The Plaintiff is a chronic scofflaw

“When a court is asked to vacate an arbitral award on public policy grounds, “the focus of
inquiry is on the result of the award itself.” Matter of NYS Corrections Officers v. State of New York,
94 NY2d 321, 327 (1999). “When the final result creates an explicit conflict with other laws and their
attendant policy concerns,” a court will vacate the award. Jd.
The Court’s Erroneous Jury Charge

Below it is clear that the Court presented to the Jury the same definitions of Meeting Halls
found in Plaintiff’s June 25, 2015 Memorandum of Law. This made Defendant look like a liar before
the Jury:

Plaintiff's claims that the leases it had with the corporations of the defendant, James Brady,

required that the use -- the corporation's use and occupy the spaces only as meeting halls as
defined by the law, but that instead he used them as banquet halls. A meeting hall is defined as

a space in which during the major period of occupancy the persons assembled comprise a seated

or otherwise passive audience to a performance or presentation and have their attention focused
in. a common direction at a common subject. A banquet hall is defined as a space which during

the major period of occupancy, persons assemble for dancing or for the consumption of food
and drink, or any combination of dancing, eating or drinking or entertainment.

In order to award Mr. Brady any damages, you must find that during the major period of
occupancy Mr. Brady's corporations were using the leased premises as a meeting hall. The
plaintiff seeks to recover damages for breach of the three leases. (Transcript, June 26, 2015, p.
405:2-26 & p. 406:2-14), (R.394),

The Record is filled with admissions that the landlord changed the “as is” legal condition from

good and satisfactory factory building to an illegal office building, where it became illegal and

impossible for Defendant to operate his business.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 78 of 152

The Jury Decision was against the weight of the evidence. A jury cannot claim that the landlord
did not breach the lease when it is admitted to repeatedly by the landlord and his attorney. The landlord
in the present case admitted that he unlawfully converted the building to office space so he could
charge more rent. Mr. [frah fraudulently induced Defendant Brady into moving into the building to use
Defendant's meeting halls as showing spaces to lure office tenants to the building.

This case will also be reversed on the merits by the Appellate Division because the landlord's
attorney admits that Defendant Brady did his due diligence prior to closing, and that the building had
no office clients at that time and was compliant with fire safety laws at the time the leases were signed.

Plaintiff's September 27, 2014 Verified Answer admits “that Brady conducted Due Diligence,”
which is an admission that Defendant must be relieved of all liability under the personal guarantees.

As a matter of law, “A guarantee will not be enforced where the modification”... impermissibly
increased [guarantor's” risk] without his consent.... White Rose Food, 99 NY2d at 591; Arlona Ltd.
Partnership v 8th of Jan. Corp., 50 AD3d 933, 934 9 (First Dept 2008) (refusing to enforce guarantee
of commercial lease where underlying lease was modified).

A guaranty must be construed “in the strictest manner” (White Rose Food v. Saleh, 99 NY2d
589, 591 (2003). Guarantor cannot be held responsible for the fatlure of the principal to perform. An
alteration of the contract to which the guaranty applies will serve to discharge the guarantor's obligation
unless the guarantor has consented to the alteration. See White Rose Food v Saleh, 99 NY2d 589
{2003]; Davimos v Halle, 35 AD3d 270 [2006.]).

The Jury’s verdict did not include a finding of whether Plaintiff had changed the building from
its “as is” condition, nor did the Jury find whether Plaintiff increased the risk under the personal

guarantees.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 79 of 152

The “Merger Clause” can only be construed as an agreement between the parties that the
building would stay in the good and satisfactory condition it was in at the time the leases were signed.
The Landlord breached this clause by not obtaining Tenant's signed agreement that the building could
be converted to illegal office spaces that were non-compliant with fire safety laws.

Since each and every part of paragraphs 15 and 21 was breached by the Landlord, it is against
the weight of the evidence for the Jury to determine that Tenant breached the Leases rather than the
Landlord. The Appellate Division will reverse the decision based on the undisputed fact that the
Landlord breached every part of these two contract provisions.

The New York Court of Appeals has held that: “No one shall be permitted to profit by his own
fraud, or to take advantage of his own wrong, or to found any claim upon his own iniquity, or to
acquire property by his own crime. These maxims are dictated by public policy, have their foundation
in universal law administered in all civilized countries, and have nowhere been superseded by statutes.”
Carr v. Hoy, 2 NY 2d 185, 187 (1957).

“Tt is the settled law of this State (and probably of every other State) that a party to an illegal
contract cannot ask a court of law to help him carry out his illegal object, nor can such a person plead
or prove in any court a case in which he, as a basis for his claim, must show forth his illegal purpose.”
Stone v. Freeman, 298 NY 268, 271 (1948).

“Public policy prohibits recovery under a contract where a party engages in fraud or other
immoral conduct in tendering its performance under the contract. As the Court of Appeals stated in
McConnell v. Commonwealth Pictures Corporations, 7 NY 2d 465 (1960), “long-settled public policy
closes the doors of our courts to those who sue to collect the rewards of corruption.”

In the present case, there is no dispute that Plaintiff is operating a non-compliant building of

illegal office spaces that violates the Special Garment District. The Plaintiff is a chronic scofflaw.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 80 of 152

“When a court is asked to vacate an arbitral award on public policy grounds, “the focus of
inquiry is on the result of the award itself.” Matter of NYS Corrections Officers v. State of New
York, 94 NY2d 321, 327 (£999). “When the final result creates an explicit conflict with other laws and
their attendant policy concerns,” a court will vacate the award, /d.

The trial transcript proves the landlord fraudulently induced Defendant to enter into the leases
without revealing that he had no intention of staying compliant with the law. The transcript shows the
landlord, his attorney and his architect mocking the Garment Preservation District laws and arguing
that it was perfectly acceptable to ignore them.

In New York state, “a plaintiff must assert the misrepresentation of a material fact, which was
known by the defendant to be false and intended to be relied on when made, and that there was
justifiable reliance and resulting injury.” (Braddock v Braddock, 60 AD3d 84, 86 [Ist Dept 2009]; see
Gaidon vy Guardian Life Ins. Co. of Am., 94 NY2d 330, 348 [1999]).

Additionally, a plaintiff alleging fraud must state “the circumstances constituting the wrong .. .
in detail” (CPLR 3016 [b]). The Court of Appeals has held that CPLR 3016 (b) requires a plaintiff
claiming fraud to “allege the basic facts to establish the elements of the cause of action”; the plaintiff
need not provide “unassailable proof” (Pludeman v N. Leasing Sys., Inc., 10 NY3d 486, 492 [2008]). A
pleading will be proper under this standard "when the facts are sufficient to permit a reasonable
inference of the alleged conduct.” Jd.

The Record shows that Respondent had planned to convert the building to illegal office use
prior to signing the leases with Defendant James Brady. As early as 2001, he was placing ads in the
New York Times looking for office, i.e. illegal, tenants. Mr. Ifrah used Defendant's floors as
showrooms to entice new tenants, all the while undermining Defendant's business and eventually

driving him from the building.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 81 of 152

Fraudulent inducement is defined as “a material misrepresentation, known to be false, made
with the intention of inducing reliance, upon which the victim actually relies, consequently sustaining a
detriment.” Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Wise Metals Group, LLC, 19 AD3d 273,
275 (2005).

CONCLUSION

The Record proves: 1) the Landlord and his attorney themselves admitted that the Landlord
breached the contract; 2) that Tenant was fraudulently induced into signing the Leases; 3) there is no
basis in the record for the Court to conclude that Defendant was not blind-sided by the Court permitting
new triable issues and defenses during its ex parte meeting with Plaintiff; and 4) the Court in effect
gave a directed verdict against Defendant in which the Jury would be required to find that Defendant
breached the Leases if, in the Court's insistence that under applicable law, Defendant would be in
breach of contract if he used any other floor-plan than one with all chairs “facing one direction with a
common viewpoint,” which was an incorrect statement of the law; and 5) the Court cut-off Defendant
and legal adviser from speaking and finishing their objections to the Jury Charges.

The three questions presented to the jury came back with the opposite conclusion based on the
trial, as the Record shows. There was no evidence presented at trial that Defendant breached the
contract, It is impossible for a reasonable juror to conclude that Plaintiff did not reach the implied
warranty of good faith or breached the leases when Plaintiff admits repeatedly throughout the trial that
he breached both.

Further, all the criteria for Defendant counterclaim for fraudulent inducement were met.

Judge Ostrager changed the nature of the trial after Defendant refused a $50,000 offer from Respondent
Philippe Ifrah. As the Record and Brief will show, the trial changed from the issues argued in
Respondent's Complaint and Defendant Answer with Counterclaims, to an entire new and extraneous

issue of whether the chairs in one of Defendant's meeting halls faced in a certain direction. This last

7

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 82 of 152
minute surprise by Respondent's and by the Supreme Court, which had not been part of the Complaint
nor of any other court paper in these cases, warrants a reversal of Judge Ostrager's August 25, 2015
Order.
DATE: April 4, 2017

__/s/

James Brady

Studio 450, 12" Floor
450 West 31° Street
New York, NY 10001

bradyny(@gmail.com

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 83 of 152

EXHIBIT 7

 
FILED: 0p] Page 84 iNDER2NO. 603561/2009
NYSCEF DOC. NO. 188 RECEIVED NYSCEF: 08/08/2014

   

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK
IGS REALTY CO, L.P., d/b/a
IGS REALTY CO.,
COMPLAINT
Plaintiff,
- against - Index No.: 603561/2009
JAMES H. BRADY, Hon. Joan A. Madden, Justice
Defendant.

Sos ee oa ea es ee eee ee nn a a ee

Plaintiff, IGS REALTY CO, L.P., as and for its Complaint alleges as follows:

1. Plaintiff is a limited partnership duly organized and existing under the laws
of the State of New York. At all relevant times Plaintiff was and still is the owner of real
property and the building thereon known as The Arts Building located at 336 West 37th
Street, New York, NY 10018 (the “Building").

2. Defendant, James H. Brady, is an individual who 1s the guarantor and
signatory of three commercial leases for space at the Building.

FIRST CAUSE OF ACTION

3. On or about January 3, 2002, Plaintiff leased to James Catering Corp., a
corporation wholly owned by Defendant, the entire eleventh floor of the Building
pursuant to written lease for a specified rent with annual increases and containing
escalation charges for additional rent including water charges, sprinkler charges utility

charges, and tax increases. In addition, the lease provided for a 5% late fee for amounts

IGS' Motion for Atty Fees - Exhibit A - Page 1

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 85 of 152

five or more days in arrears and finance/interest charges of 1.8% per month on amounts
30 or more days in arrears.

4. As an inducement to enter into the lease, for good and valuable
consideration, Defendant duly executed a Guarantee (“Guarantee #1”), which by its terms
absolutely, unconditionally and wrevocably guaranteed payment of all amounts payable
by tenant under the lease up to the “Surrender Date” as that term is defined in the
Guarantee #1.

5, Additionally, Guarantee # 1 provides that Defendant shall pay to Plaintiff
the costs including attorneys’ fees, court costs and other expenses of enforcing or
attempting to enforce" the guarantee..

6. By its terms, Guarantee #1 is a guarantee of payment and performance, not
of collection. Guarantee #1 may be enforced without the necessity of resorting to or
exhausting any other security or remedy and without the necessity at any time of having
recourse to the tenant.

7. The Surrender Date when James Catering Corp. vacated and surrendered
the Premises and delivered the keys to Plaintiff was October 1, 2009.

8, As of the Surrender Date, James Catering Corp. owed Plaintiff $205,158.81
for amounts due under its lease with Plaintiff.

9, Plaintiff is entitled to damages from Defendant in the amount of
$205,158.81, together with interest, attorney’s fees, and the costs and expenses of this

action.

IS' Motion for Atty Fees - Exhibit A - Page 2

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 86 of 152

SECOND CAUSE OF ACTION

10. On or about November 19, 2002, Plaintiff leased to Loft Eleven, Inc., a
corporation wholly owned by Defendant, the entire fifteenth floor of the Building plus
roof rights for a specified rent with annual increases and containing escalation charges for
water charges, sprinkler charges utility charges, and tax increases. In addition, the lease
provided for a 5% late fee for amounts five or more days in arrears and finance/interest
charges of 1.8% per month on amounts 30 or more days in arrears.

11, As an inducement to enter into the lease, for good and valuable
consideration, Defendant duly executed a Guarantee (“Guarantee #2”), which by its terms
absolutely, unconditionally and irrevocably guaranteed payment of all amounts payable
by tenant under the lease up to the “Surrender Date” as that term is defined in the
Guarantee #2,

12. Additionally, Guarantee #2 provides that Defendant shall pay to Plaintiff
the costs including attorneys' fees, court costs and other expenses of "enforcing or
attempting to enforce” the guarantee.

13. By its terms, Guarantee #2 is a guarantee of payment and performance, not
of collection. Guarantee #2 may be enforced without the necessity of resorting to or
exhausting any other security or remedy and without the necessity at any time of having
recourse to the tenant.

14. The Surrender Date when Loft Eleven, Inc. vacated and surrendered the

Premises and delivered the keys to Plaintiff was October 1, 2009.

IGS' Motion for Atty Fees - Exhibit A - Page 3

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 87 of 152

15, The Surrender Date when Loft Eleven, Inc. vacated and surrendered the
Premises and delivered the keys to Plaintiff was October 1, 2009.

16. As of the Surrender Date, Loft Eleven, Inc. owed Plaintiff $255,350.26
under its lease with Plaintiff.

17. Plaintiff is entitled to damages from Defendant in the amount of
$255,350.26, together with interest and attorney’s fees and the costs and expenses of this
action.

THIRD CAUSE OF ACTION

18,  Onor about July 21, 2003, Plaintiff leased to West Side Loft Inc., a
corporation wholly owned by Defendant, the entire sixth floor of the Building for a
specified rent with annual increases and containing escalation charges for water charges,
sprinkler charges utility charges, and tax increases. In addition, the lease provided for a
5% late fee for amounts five or more days in arrears and finance/interest charges of 1.8%
per month on amounts 30 or more days in arrears.

19. As an inducement to enter into the lease, for good and valuable
consideration, Defendant duly executed a Guarantee (“Guarantee #3”), which by its terms
absolutely, unconditionally and irrevocably guaranteed payment of all amounts payable
by tenant under the lease up to the “Surrender Date” as that term is defined in Guarantee
#3.

20. Additionally, Guarantee #3 provides that Defendant shall pay to Plaintiff
the costs including attorneys’ fees, court costs and other expenses of enforcing or

attempting to enforce the guarantee.

IGS' Motion for Atty Fees - Exhibit A - Page 4

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 88 of 152

21. By its terms, Guarantee #3 is a guarantee of payment and performance, not
of collection. Guarantee #3 may be enforced without the necessity of resorting to or
exhausting any other security or remedy and without the necessity at any time of having
recourse to the tenant,

22. The Surrender Date when West Side Loft, Inc. vacated and surrendered the
Premises and delivered the keys to Plaintiff was October 1, 2009.

23. As of the Surrender Date, West Side Loft, Inc. owed Plaintiff $254,121.31
under its lease with Plaintiff.

24, — Plaintiffis entitled to damages from Defendant in the amount of
$254,121.31 together with interest and attorney’s fees, costs and expenses of this action.

FOURTH CAUSE OF ACTION

25. When the West Side Loft Inc. lease was signed by Defendant, West Side
Loft, Inc. was not incorporated.

26. Defendant, as the signatory of that lease, is personally liable for all sums
due pursuant to that lease.

27. Plaintiff is entitled to damages in an amount not less than $254,121.31, plus
continuing interest at the lease rate of 1.8% per month for every month after October
2009 and Plaintiff's attorneys fees, costs and expenses as provided for in the lease in
amounts to be determined at trial.

WHEREFORE, Plaintiff demands judgment against Defendant for damages: on
the First Cause of action in the amount of $205,158.81; on the Second Cause of action in

the amount of $255,350.26; on the Third Cause of action in the amount of $$254,121.31,
5

IGS' Motion for Atty Fees - Exhibit A - Page 5

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 89 of 152

plus interest, attorney’s fees, and the costs and expenses of these actions; on the Fourth
Cause of Action in amount to be determined at trial t not less than $254,121.31, plus
continuing interest at the lease rate of 1.8% per month for every month after October
2009 and attorneys fees, costs and expenses as provided for in the West Side Loft Inc.
lease; and for such other and further relief as may be just and proper.

Dated: New York, New York
August 8, 2014

GOLDSMITH & FASS

Robert N. Fass
Attorneys for Plaintiff
360 Lexington Avenue
14" Floor
New York, New York 10017
(212) 823-0936

IGS' Motion for Atly Fees - Exhibit A - Page 6

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 90 of 152

EXHIBIT 8

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 91 of 152

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK
wane nn ene eee eee ee eee 4
IGS REALTY CO., L.P.,
Plaintiff, Index No. 603561/2009
-against-
JAMES H. BRADY,
Defendant.
iT rer cP Ac aata X

DEFENDANT’S AFFIDAVIT IN SUPPORT OF POST-TRIAL MOTION FOR
JUDGMENT AND NEW TRIAL PURSUANT TO CPLR § 4404, OR ALTERNATIVELY
FOR A STAY PURSUANT TO CPLR § 5519

I, The Court is respectfully asked to vacate the jury verdict and grant a new trial in
the case of I.G.S. Realty, LLC v. James H. Brady, Index No. 603561/2009. This court has the
authority and responsibility to vacate the decision for numerous independent reasons.

z. CPLR § 4404, “Post-trial motion for judgment and new trial,” states that:

(a) Motion after trial where jury required. After a trial of a cause of action or
issue triable of right by a jury, upon the motion of any party or on its own
initiative, the court may set aside a verdict or any judgment entered thereon and
direct that judgment be entered in favor of a party entitled to judgment as a
matter of law or it may order a new trial of a cause of action or separable issue
where the verdict is contrary to the weight of the evidence, in the interest of
justice or where the jury cannot agree after being kept together for as long as is
deemed reasonable by the court.

(b) Motion after trial where jury not required. After a trial not triable of right by
a jury, upon the motion of any party or on its own initiative, the court may set
aside its decision or any judgment entered thereon. It may make new findings of
fact or conclusions of law, with or without taking additional testimony, render a
new decision and direct entry of judgment, or it may order a new trial of a cause
of action or separable issue.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 92 of 152

Discussion

3. First, a reading Plaintiff's attorney, Mr. Fass’s June 23, 2015 opening arguments
proves that there was an ex parte oral motion made by Plaintiff's to the Court, and decided in
Plaintiff's favor, without Defendant being made aware of the last minute motion or being able to
oppose the motion. This oral motion, which the court granted, did not pertain to a minor issue.
It completely robbed Defendant of his day in Court, and shifted the entire focus of the trial to
whether Defendant had been engaged in illegal activity.

4, This fact that the ex parte oral motion was made and granted is proven by looking
at Mr. Fass oral arguments, in which he states the following:

“Tfrah (the landlord} will show you that Mr. Brady's use was not permitted under
applicable zoning building code requirements. In particular, although he claims
to be running what is called a meeting hall --and the Judge will charge you what
that means--he was in fact an entirely different use known as a banquet hall,
which wasn't allowed in the district. And he did it from day one.” (Transcript,
June 23, 2015, p. 12).

5. This statement shows that during the ex parte meeting, Plaintiff's gave the Court
something and presented it as the meaning of the term “Meeting Hall.” Defendant was not there
to see or oppose what was given to the Court.

6. The allegation that Defendant operated a Banquet Hall and not a Meeting Hall as
stated in the lease was never part of Plaintiff's Complaint or Reply. (Exhibit A — Plaintiff's
Complaint and Reply). The landlord’s claim was limited to the claim that he was owed money
under the personal guarantees. There was never any claim that Defendant had been operating an
illegal banquet hall. The introduction of this Jury Charge changed the whole nature of the trial
and greatly prejudiced Defendant. Brady was not given the opportunity to respond to Plaintiff's

new allegations or present evidence from the DOB that easily proves that the floorplan in

Plaintiffs Memorandum of Law is not one in which “the major period of occupancy, the persons

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 93 of 152

assembled comprise a seated or otherwise passive audience to performance or presentation, and
have their attention focused in a common direction or at a common subject,” which is the one the
judge presented to the Jury.

7. As the approved Public Assembly permit proves, Defendant was required to show
an entirely different floorplan than what is in the glossary in order to have the DOB approve it.
In fact, as discussed further below, the approved Public Assembly for F-1b Meeting Halls
required tables and chairs to be scattered without a common focal point, and areas for people to
congregate and mingle in other parts of the multi-room hall. Without this floorplan, Defendant
would not have been approved for a Public Assembly F-1b “Meeting Hail” use. Plaintiffs gave
the Court false information, and the Court passed this floorplan along to the Jury as law as the
only floorplan that would prove Defendant was an illegal Meeting Hall.

8. Had the motion not been made ex parte, Defendant would have advised the Court
that the new claim was waived, and would have argued, correctly, that it was up to the Fire
Department and the Department of Building to determine if Defendant operated as an illegal
“Banquet Hall.” In Defendant’s six years of operation, neither the Fire Department nor the
Department of Buildings ever asserted that Defendant was operating as an illegal Meeting Hall,
so it was certainly not a triable issue six years after Defendant closed his operations.

9, Had Plaintiff's motion not been ex parte, Defendant would have been able to
inform the Court that the issue was never raised as an affirmative defense in Plaintiff's Reply to
Defendant’s Answer and Counterclaims. Defendant would have been able to explain to the
Court that Plaintiff is barred by law of case from raising these new claims and defenses.

10. The Appellate Division, First Department determined what the issue of the case in

their October 11, 2012 Decision, where they state, in closing, “there are issues of fact as to

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 94 of 152

whether IGS Realty failed to perform its obligation to tenants.” (Exhibit B — Appellate Division
Decision, October 11, 2012). In the same Decision, the Court also stated: “Furthermore, the
proposed fraud claim was sufficiently specific (see Pludeman v. Northern Leasing, Sys., 10 NY
3d 486, 491 [2008]).”

li. Further, in the Justice Madden’s Preliminary Conference Order on July 10, 2014,
the parties agreed to keep a schedule related to the filing of court papers. (Exhibit C). Pursuant
to the PC Order, “Answer with Counterclaims shall be served on or before August 25, 2014.”
This also proves that Mr. Fass’s contention that Defendant’s Counterclaims are inadmissible is
false. Mr. Fass cannot now assert that Defendant’s counterclaims are barred. The Court has
already determined they are not. In none of its prior court papers, at no time has Plaintiff ever
raised the issue of whether Defendant was operating a meeting hall versus banquet hall.

12. As the Appellate Division stated: “As a result of tenant’s inability to obtain
substitute counsel within 13 days of prior counsel being relieved by the court, tenants and Brady,
their principal, have been deprived of their day in court in four cases.” /bid. In the present case,
Defendant had no time at all to respond to Plaintiff's new claims, and was thus entirely robbed of
his day in court.

13. On the first day of the trial, June 23, 2015, prior to selecting a Jury and in order to
facilitate a last minute settlement prior to trial, Plaintiff and Defendant agreed that the Court
could speak to each side separately only to lay down their evidence so that Court could advise
both sides of their respective strengths and weaknesses.

14. Defendant did exactly what was agreed to during its ex parfe time with the Court.
Defendant's showed the Court Plaintiff's September 27, 2014 Reply in which Plaintiff admitted

that Defendant had done their due diligence prior to entering into the leases and guarantees.
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 95 of 152

Defendant also showed the Court that Plaintiff admitted in their Reply that at that time the leases
and guarantee's were signed the building was compliant with fire safety laws and had no illegal
office tenants. Defendants also told the Court that it had Department of Building violation sheets
proving the landlord breached the lease and warranty by destroying the building's legal condition
after the leases and guarantees were signed by unlawfully turning his factory building into an
illegal office building. Defendant also told the Court that it had DOB objection sheets proving
that Plaintiff's unwillingness to stay compliant with fire safety laws caused the Department of
Buildings to refuse to issue any more of the TCOs that it needed to operate its meeting hall
businesses, Defendant told the Court that the merger clause of the contract expressly states that
the lease and guarantee pertained to the building in its “as is condition” at the time the leases
were signed. The “as is condition” that was breached was the building’s “as is” /egad condition.

18, Plaintiff's attorney and architect used the time to make new, false, waived, and
unsupported accusations and proposed Jury Charges to the Court. The Court granted Plaintiff's
oral motion only minutes before the trial to include a Jury Charge that Defendant was also using
his space illegally, and that the Jury should be charged with making a determination on this new
allegation.

16. The new Jury Charge, which had not been part of Plaintiff's case in any manner
prior to the ex parte motion, added the legal argument that if the Jury determined that Defendant
used his meeting hall illegally, then Defendant could not collect even if the Jury found for him
on his counterclaims.

Under the Guise of Presenting Plaintiff's Evidence, Plaintiff's Attorneys Defrauded the
Court

17. Plaintiffs did not present evidence showing the strengths of Plaintiff's claims but

rather introduced new claims and counterclaims.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 96 of 152

18. The Court relied on fraudulent information that it received during its ex parte
settlement talks with Plaintiff's attorneys and architect on June 23, 2015. Specifically the
Plaintiff's attorney and architect lied to the Court pertaining to the rights given to “Meeting
Halls” by the DOB, and the Court then passed along this false information to the Jury and
presented a 1968 glossary description of a Meeting Hall, and presented it to the Jury to determine
if Defendant was operating as a Meeting Hall or illegal Banquet Halls.

19, In Plaintiffs last minute, June 26, 2015 Memorandum of Law, they write:

Both Meeting Halls and Banquet Halls fall into Public Assembly Occupancy
Group F. Meeting Halls are in Occupancy group F-1b, Banquet halls are Occupancy
Group F-4 (See Building Code References Standards RS-3, Appendix IL.)

Section 27-255 of the Building Code of 1968 (Appendix ITI) states that
Occupancy Group F-1: “Shall include those buildings and spaces in which, during
the major period of occupancy, the persons assembled comprise a seated or
otherwise passive audience to performance or presentation, and have their attention
focused in a common direction or at a common subject.” Occupancy group F-1
consists of two subdivisions F-la and F-[b.” It is undisputed that the Corporations
obtained their construction approvals, Temporary Certificates of Occupancy and Public

Assembly Permits under Occupancy F-1b.

20. The Court relied on these definitions of a Meeting Hall and Banquet Halls without
giving Defendant a chance to oppose this, and passed them to the Jury as if they were law. The
Jury Charge included the description provided by Plaintiff as the only lawful way a meeting hall
is to be used, and thus that any other room description would actually mean that Defendant was

operating a banquet hall. This was an improper Jury instruction.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 97 of 152

The Court’s Erroneous Jury Charge

21. Below it is clear that the Court presented to the Jury the same definitions of
Meeting Halls found in Plaintiff's June 25, 2015 Memorandum of Law. This made Defendant
look like a liar before the Fury:

Plaintiff's claims that the leases it had with the corporations of the defendant,
James Brady, required that the use -- the corporation's use and occupy the spaces
only as meeting halls as defined by the law, but that instead he used them as
banquet halls. A meeting hall is defined as a space in which during the major
period of occupancy the persons assembled comprise a seated or otherwise
passive audience to a performance or presentation and have their attention
focused in a common direction ata common subject. A banquet hall is defined as
a space which during the major period of occupancy, persons assemble for
dancing or for the consumption of food and drink, or any combination of dancing,
eating or drinking or entertainment.

In order to award Mr. Brady any damages, you must find that during the
major period of occupancy Mr. Brady's corporations were using the leased
premises as a meeting hall. The plaintiff seeks to recover damages for breach of
the three leases. (Transcript, June 26, 2015, p. 405:2-26 & p. 406:2-14).

 

Defendant’s Public Assembly Permit Proves the Court’s Jury Charge was in Error

22. The enclosed approved Public Assembly permit for Defendant’s 11" floor at 336
West 37" Street proves the Department of Building permitted totally different room
configurations from those the Court used as part of its Jury Charge. (Exhibit D — Defendant’s
Public Assembly Permit for the Eleventh Floor). Defendant could not present the accompanying
Public Assembly Permit during trial because obtaining it required going to the Department of
Building’s headquarters, researching for it, and then finding it on microfiche. This was also the
only one of Defendant’s Public Assembly permits available at the DOB. Defendant was told that
someone very recently had pulled the other two Public Assembly permits for Defendant’s spaces
at 336 West 37" Street, and never returned them.

23. The approved Public Assembly plans shows tables for eating and included a 300

sq/ft pantry, clearly marked as “Pantry,” which means, as Defendant had stated, that it was used

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 98 of 152

for reheating food that was prepared elsewhere. The tables are not facing in one direction witha
common viewpoint, as the Court’s Jury Charge mistakenly stated.

24. The approved floorplan also shows wide areas left open for socializing and
moving. The floorplan is clearly not that of a “passive audience to performance or presentation,
and have their attention focused in a common direction or at a common subject.” Defendant’s
permit is clearly labeled “Meeting Hall Use Group CoC Occupancy F-1b, Total Number of
Persons: 240.” (See center-right of Defendant’s floorplan in Exhibit D). The approved floorplan
looks remarkably similar to a catering hall, and there are no restrictions that eating and drinking
are not permitted. In other words, the permit proves that the definition the Court gave the Jury as
law was incorrect, and this would have a direct consequence on the verdict. Based on Plaintiff's
definition of “Meeting Hall,” Defendant looked like a complete liar. For this reason alone, the
verdict should be vacated.

25. Defendant’s due diligence at the time the leases were signed found that the actual
permitted configuration and use of a Meeting Hall F-1b was completely different from the 1968
glossary definition that the Court provided to the Jury as law.

26, The improper Jury instruction made Defendant look like a liar since he was not
able to present evidence showing he was fully compliant with actual DOB “Meeting Hall” use.

27. Defendant, at the time he relieved his attorney, raised the issue that it was not just
for the Court to add these new Jury Charges without having the opportunity to reply and defend
against the allegations:

MR. ADINOLFI: Mr. Brady has a motion for the Court, an oral motion for the
Court to preclude.

Mr. Brady, if you will proceed.

THE DEFENDANT: Yes,

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 99 of 152

They made, they made new charges, your Honor, that my use was actually the one
that was not lawful; and it was never raised on any -- it was not raised in the
Complaint, it was not raised in the reply. It's never been raised until now, and I'm
asking that it be precluded.

THE COURT: That motion is denied. (Transcript, June 25, 2015, p. 185:17-26)

28, This is reflected in the Jury’s verdict, which did not include a finding of whether
Plaintiff had changed the building from tts “as is” condition, nor did the Jury find whether
Plaintiff increased the risk under the personal guarantees.

29. The Court told the Jury that the only permitted floorplan under F-1b Meeting Hall
under the law was one where “the major period of occupancy, the persons assembled comprise a
seated or otherwise passive audience to performance or presentation, and have their attention
focused in a common direction or at a common subject.”

30. Due to the Court’s erroneous Jury Charge and his inability to correct the record
before the Jury, Defendant was agitated in court and inadvertently insulted the Jury. The
inclusion of an erroneous Jury Charge greatly prejudiced Defendant before the Jury, Defendant
now had to prove his innocence rather than have Plaintiff prove his guilt. The Jury sided with
the Judge’s instructions as to the lawful description of a Meeting Hail, and then determined
Defendant was a liar whose evidence and testimony should be discarded. This is reflected in the
Jury Verdict:

COURT CLERK: Foreperson, please rise. In regard to question number 1A, do you find

in favor of the plaintiff IGS Realty on its claim against the defendant for breach of

contract?

JUROR: Yes.

COURT CLERK: Was that unanimous or five to six?

JUROR: Unanimous.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 100 of 152

COURT CLERK: In regard to question 1B, please state the total dollar amount of
damages, if any, that you award to plaintiff for defendant breach of contract?

JUROR: 541,758.62.

COURT CLERK: Was that unanimous or five to six?

JUROR: Unanimous.

COURT CLERK: And in regard to question 2A, do you find in favor of the defendant in
connection with his claim that plaintiff breached the implied warranty that the premises
were fit for use in the leases?

JUROR: No.

COURT CLERK: Was that unanimous?

JUROR: Yes.

COURT CLERK: And in regard to question 3A, do you find in favor of the defendant on
the claim that the plaintiff IGS Really fraudulently induced him to sign the leases and
guarantees?

JUROR: No.

COURT CLERK: Was that unanimous?
JUROR: Yes.

COURT CLERK: Thank you. You may be seated. (Transcript, June 26, 2015, p. 437:13-
26 & p. 438:2-15).

31. Clearly the jurors were punishing Defendant because the decision was against the
weight of the evidence. At trial, Plaintiffs themselves repeatedly admitted they unlawfully
changed the “as is” legal condition of the building, so clearly as a matter of law, this Court can
determine that the Jury’s decision was wrong, and in fact Plaintiff breached the contract and

warranty.

10

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 101 of 152

The Jury’s Decision was Against the Weight of the Evidence, and the Court Should Enter
Verdict in Guarantor’s Favor

32. The Jury did not reach the issue of whether Defendant was operating as a valid
Meeting Hall, so the Court must answer this question or vacate the decision.

33. It was undisputed in the answers that Defendant performed due diligence prior to
entering into the leases, and Plaintiff admits that at the time the leases and personal guarantees
were signed, the building’s fire alarm complied with relevant law and there were no illegal office
spaces in the building. Plaintiff admits repeatedly that they changed the “as is” legal condition
of the building by converting the building to illegal offices, and the objection sheets prove
conclusively that the Department of Buildings would not issue any more Certificates of
Occupancy because the building would not stay compliant with fire safety laws.

34. Plaintiffs admit that Defendant was not able to get a valid Certificate of
Occupancy because of their actions. Plaintiffs only argument was that defendant could continue
to operate without a valid Certificate of Occupancy, which does nothing to mitigate the fact that
the “‘as is” legal condition of the building was unlawfully changed, which breached the contract
and warranty, and increased Defendant’s risk under the guarantees.

35, The Court has the power and responsibility to vacate a jury decision when it was
wrong and against the weight of the evidence as a matter of law and fact.

36. A guaranty must be construed “in the strictest manner” (White Rose Food vy.
Saleh, 99 NY2d 589, 591 (2003). Guarantor cannot be held responsible for the failure of the
principal to perform. An alteration of the contract to which the guaranty applies will serve to
discharge the guarantor's obligation unless the guarantor has consented to the alteration. See White
Rose Food v Saleh, 99 NY2d 589 [2003]; Davimos v Halle, 35 AD3d 270 [2006.]). “A guarantee

3

will not be enforced where the modification”... impermissibly increased [guarantor's” risk] without

ll

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 102 of 152

his consent.... White Rose Food, 99 NY2d at 591; Arlona Ltd. Partnership v 8th of Jan. Corp., 50
AD3d 933, 934 9 (First Dept 2008) (refusing to enforce guarantee of commercial lease where
underlying lease was modified).

37. The first page of the leases state that the purpose of the leasehold was that the demised
spaces were to be used as meeting halls. The First Department has reiterated the longstanding rule
that “/wJhen premises are leased for an expressed purpose, everything necessary to the use and
enjoyment of the demised premises for such expressed purpose must be implied where it is not
expressed in the lease." Second on Second Café v. Hing Sing TradingCo, 66 AD 3d 255, 884 NYS
2d 353 (1* Dept 2009).

38. Applying these principles it is undisputed that the Plaintiff modified the lease and
increased defendant’s risk when it unlawfully converted the subject premises to an illegal office
building. Paragraph 54 of the Lease Rider specifically states: Tenant acknowledges that it has
inspected the Building and the demised premises, and agrees that Landlord shall not be obligated to
make any improvements, or alteration to the demised premises to prepare it for the Tenant's
occupancy or otherwise, and that Tenant will accept the demised premises in "as is" condition.

39. The objection sheets and the violations prove that the illegal conversion of the
subject premises is what caused the New York City Department of Buildings to refuse to renew
the tenant/principals temporary certificates of occupancy. Under the express terms of the lease
stated above “/a/ signed writing against whom the party against whom enforcement of the
chance, modifications, discharge or abandonment is sought...” was required. The leases are loft
leases and the conversion was clearly a modification.

40. The objection sheets and violations found in the record clearly show that the

subject premises were unlawfully changed from the loft building given upon the execution of the

12

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 103 of 152

leases. Furthermore, Plaintiff Philippe Ifrah admits that there were no violations for illegal use
until after the last lease was executed in 2003.

41. In an affidavit filed in a related action West Side Loft v. IGS Realty Co., LP.,
650463/2009 (the “Affidavit Further Support”) Plaintiff Philippe Hrah stated under oath that the
parties agreed to leasing and acceptance of the demised premises “as is” and that Brady
performed due diligence, by stating in pertinent part: “Brady not only admitted to inspecting the
premises and acknowledging that the spaces could be transformed into meeting spaces but he
personally guaranteed all three leases. In fact, plaintiffs had an experienced engineer and family
member also review the leases before they were executed. Brady is a savvy businessman who has
entered into many commercial leases and knew exactly what to look for.”

42. Brady guaranteed a Loft Lease in a Loft Building that complied with applicable
laws and “[i]n short, the deal which the [DEFENDANT] assented was not the agreement to
which he is now held,” R&E Property Corp. v. Sky Opticians, Inc. and Levinson, 2008 Slip
Opinion 30454, 2008 NY Misc. LEXIS 7834; citing Whiterose. Plaintiff had a duty not to engage
in actions which would cause the tenant to lose rights and privileges connected with its use.

43. Due to the Court’s erroneous Jury Charge, this issue never reached the Jury.

The Court Should Vacate the Verdict and Award of Damages Because it is Against Public
Policy

44. The New York Court of Appeals has held that: “No one shall be permitted to
profit by his own fraud, or to take advantage of his own wrong, or to found any claim upon his
own iniquity, or to acquire property by his own crime. These maxims are dictated by public
policy, have their foundation in universal law administered in all civilized countries, and have

nowhere been superseded by statutes.” Carr v. Hoy, 2 NY 2d 185, 187 (1957).

13

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 104 of 152

45. “It is the settled law of this State (and probably of every other State) that a party
to an illegal contract cannot ask a court of law to help him carry out his illegal object, nor can
such a person plead or prove in any court a case in which he, as a basis for his claim, must show
forth his illegal purpose.” Stone v. Freeman, 298 NY 268, 271 (1948).

46, “Public policy prohibits recovery under a contract where a party engages in fraud
or other immoral conduct in tendering its performance under the contract. As the Court of
Appeals stated in McConnell v. Commonwealth Pictures Corporations, 7 NY 2d 465 (1960),
“tong-settled public policy closes the doors of our courts to those who sue to collect the rewards
of corruption.”

47, In the present case, there is no dispute that Plaintiff is operating a non-compliant
building of illegal office spaces that violates the Special Garment District. The Plaintiff is a
chronic scofflaw

48. “When a court is asked to vacate an arbitral award on public policy grounds,
“the focus of inquiry is on the result of the award itself.” Matter of NYS Corrections! Officers
v. State of New York, 94 NY2d 321, 327 (1999). “When the final result creates an explicit
conflict with other laws and their attendant policy concerns,” a court will vacate the award. Id.
Alternatively, the Court Can Grant a Stay Pursuant to CPLR § 5519

49. CPLR § 5519 states that :

{c) Stay and limitation of stay by court order. The court from or to which an appeal is

taken or the court of original instance may stay all proceedings to enforce the judgment

or order appealed from pending an appeal or determination on a motion for permission to

appeal in a case not provided for in subdivision (a) or subdivision (b), or may grant a

limited stay or may vacate, limit or modify any stay imposed by subdivision (a),

subdivision (b) or this subdivision, except that only the court to which an appeal is taken
may vacate, limit or modify a stay imposed by paragraph one of subdivision (a).

i4

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 105 of 152

50. In considering a stay application, the Court will consider “any relevant factor,
including the presumptive merits of the appeal and any exigency or hardship confronting any
party.’” Bread & Butter LLC v. Certain Underwriters at Lloyd’s London, 2009 WL 2984776,
2009 N.Y. Slip Op. 32068(U) (Trial Order)(Sup. Ct., Nassau Cty, 2009); see also Weinstein,
Korn & Miller, N.Y. Civil Practice: CPLR 95519.13 (2d ed. 2012)(factors considered in
exercising judicial discretion to grant a stay include merits of appeal, harm to appellant if stay is
denied, and potential prejudice to respondent if stay is granted), In particular, a court in its
discretion may issue a stay due to “[c]onsiderations of judicial economy.” Elie v. City of N.Y., 92
A.D, 3d 716, 718 (2d Dep’t 2012).

51. Further, Plaintiffs will not be prejudiced by a stay. Relative to the prejudice
arising from a stay consideration, the Court of Appeals has directly held that “the court
entertaining the application is duty-bound to consider the relative hardships that would result
from granting (or denying) a stay.” Da Silva v. Musso, 76 N.Y.2d 436, 443 n.4 (1990), Da Silva,
76 N.Y.2d at 443 4. Wilkinson v. Sukiennik, 120 A.D.2d 989, 989 (4th Dep’t 1986); see also
Navy Yard Hous. Dev. Fund, Inc., 2002 WL 1174711 (noting that relevant factors to consider in
deciding to issue a stay include “the presumptive merits of the appeal,’ and holding that
“Defendant has failed to establish any grounds to justify a stay pending appeal in this action”);
see also Herbert v. City of N.Y., 126 A.D.2d 404, 407 (1st Dep’t 1987) (holding that “stays
pending appeal will not be granted, or where the stay is automatic, [or] continued, in cases
where the appeal is meritless”).

52. However, while discretion in considering an application for a stay under §
5519(c} may be subjective, it is ultimately subject to the general abuse of discretion standard of

review by an appellate court. See State of N.Y. v. Spodex, 89 A.D.2d 835, 836 (1st Dep’t 1982);

i5

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 106 of 152

see also In re Foley, 140 A.D.2d 892, 893 (3d Dep’t 1988) (stating “we see no abuse of
discretion here”); see also Varkonyi v. S.A. Empresa De Viacao Airea Rio, 22 N.Y .2d 333, 337
(1968); 64 B Venture, 179 A.D.2d at 375—76 (reviewing the duration of a stay granted by trial
court, the appellate court stated that “it was an improvident exercise of the court’s discretion”);
MacLeod v. Shapiro, 20 A.D.2d 424, 428 (1st Dep’t 1964) (noting that, as to duration of a stay,
“[jludicial power should not be so abused”); Navy Yard Hous. Dev. Fund, Inc. v. Carr, 2002 WL
1174711, (Civ. Ct., Kings Co. 2002),
CONCLUSION

53. Defendant was robbed of his day in court when new triable claims and defenses
were permitted for Plaintiff's benefit. The new claims and defenses completely changed the
purpose of the trial, The new claims and defenses enabled the trial to be almost exclusively
focused on attacks on Defendant rather than being a trial as determined by the Appellate
Division, First Department, and Plaintiff's Complaint. The mistake of considering a 1968
glossary definition of a Meeting Hall as law, and charging the Jury as such, certainly made
Defendant look dishonest and guilty of operating an illegal banquet hall. The Court as a matter
of law based on the evidence it heard, knows conclusively that the landlord breached the contract
and warranty by not staying compliant with zoning and fire safety laws. It is undisputed that this
caused Defendant should go to trial without these new, extraneous arguments preventing a fair

day in court, as happened in this case.

16

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 107 of 152

DATED: July 6, 2015
New York, NY

Qecad frre’
tarde Brady, Pro se Plaintiff
Studio 450, 12" Floor

450 West 31° Street
New York, NY 10001

bradyny@email.com

Sworn before me on this
oO day of July 2015

 

Notary Public fee ork aea 2
Cyawe doadinn Escpete fandary $2, wo {

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 108 of 152

EXHIBIT 9

 
 

NAG ap CUPS TIH LH FHFTPMPage 1OGWHEGSRO. 603561/2009
RECELVED NYSCEF: 08/25/2015

 

NYSCEF DOC. NO. 247

SUPREME COURT OF THE STATE OF NEW YORK

 

 

 

 

 

 

 

 

 

BARRY R. OSTRAGER A
PRESENT: JSC PART__@!' _
Justice . .
7" Index Number : 603561/2009 a
IGS REALTY CO., L.P: = INDEX HO.
VS. MOTION DATE
BRADY, JAMES H ow
SEQUENCE NUMBER : 006 MOTION SEQ.NO. OCS
VACATE OR MODIFY AWARD
The following papers, numbered 1 to , were read on this mation to/for
Notice of Motion/Order to Show Cause — Affidavits — Exhibits [ Nots).
Answering Affidavits — Exhibits J No{s).
Replying Affidavits | No{s).

 

Upon the foregoing papers, itis ordered that this motion is

clev ted [n Gh bolCdnte wu The 2 HCH akec, $/ ol

Fi Ale A Sposs fa IF case

 

MOTION/CASE {S RESPECTFULLY REFERRED TO JUSTICE
FOR THE FOLLOWING REASON(S):

Dated: ¥ 20, 7¥ fs Yee
whe OSTA R
JSC

4, CHECK ONES ...sccsssscssssessssvensnssseesecescscesanesseseuenstsstesnssnsse 2X CASE pISPosED ] NON-FINAL DISPOSITION
2. CHECK AS APPROPRIATE: cssssssssssscccssseseen MOTION IS: CIGRANTED [X/DENIED (]GRANTEDINPART [JOTHER
3, CHECK IF APPROPRIATES ....scscecsssesssesseesersssssessseesennecases (_] SETTLE ORDER ['] SUBMIT ORDER

(J DO NOT POST [_]FIDUCIARY APPOINTMENT [REFERENCE

 

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 110 of 152

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK
pate eeeeennee -- wan nnn ene eee eee nen eee X
IGS REALTY CO., L.P., d/b/a IGS REALTY CO.
Index No. 603561/09
Plaintiff, Motion Seq No. 0006
-against-
JAMES H. BRADY,
Defendant.

wate ete een ee eee ee ee ene ne nee nner angen eeeneeencecennes x

OSTRAGER, J.:

Defendant James H. Brady’s motion for judgment notwithstanding the judgment
and/or a new trial as well as an application for a stay pursuant to CPLR § 5519. During
the course of this three-day jury trial, the jury was called upon to resolve a variety of
disputed isuse of fact with respect to plaintiff's claims and defendant's counterclaims.
The jury resolved all of the issues of fact in favor of the plaintiff and against the
defendant. The cases of Cohen v. Hallmark Cards, 45 N.Y.2de 493, 410 N.Y.S.2d 282
(1978) and Cruz v. Bronx Lebanon Hosp. Ctr., 129 A.D.3d 631 (N.Y. 2015) stand for the
proposition that to set aside a jury verdict the movant must demonstrate that “there is
simply no valid line of reasoning and permissible inferences which could possibly lead
rational [people] to the conclusion reached by the jury on the basis of the evidence
presented at trial.” Cohn v. Hallmark Cards, 45 N.Y.2d 493, 499 (1978). This is
absolutely not the case here. There was ample evidence introduced at trial that
supports the jury's verdict. Moreover, defendant's claim that he was blind-sided by
positions advanced by the plaintiff is without merit. Both parties litigated the issues
about which the jury heard evidence and both parties addressed those issues in the

testimony that they adduced and addressed those issues in their summations. The

 

 
 

Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 111 of 152

 

9sr
Y3A5DVHLSO “Yd AYYVE ;

f).

4 2 ov
ern, GLOZ ‘Sz isniny :pejeq

‘paidiep syoodsai |je Ul Ss] UOOW SjUePUaJap yeu GAYAGHO
Aqaijay si yl ‘Apbuipioooy
‘BLSS § H1dD 0} JueNsind Aejs e 104
siseq ou SI Bou, ‘Yurejd ay} Aq apew siam abseyo Aunl ay} 0} pasoduaju! suojoalqo

Ajuo ayy ‘Ayjeoiuol) “Aunf{ ay} 0} UaAIB se aBseyo ay} 0} }OalgGo jou pip juUBpUalep
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 112 of 152

EXHIBIT 10

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 113 of 152

May 18, 2018
James H, Brady
510 Sicomac Ave.
Wyckoff, NJ 07481
bradyny@egmail.com
(201) 923-5511

fon, Peter Tom

Hon. Barbara Kapnick

Hon, Dianne Renwick

Hon. Richard Andrias

Appellate Division, First Judicial Department
Supreme Court of the State of New York

27 Madison Avenue

New York, NY 10010

Re: 1GS Realty Co., LP v. James H. Brady., Index No. 603561/2009
Dear Justices of the First Department:

Let me start by saying I am baffled by the decisions of Justices Tom, Kapnick, and
Andrias to not recuse themselves for obvious reasons which are known to these judges.
It was even more outrageous to have Justice Diane Renwick substitute when she is the
last person who should have been brought in given I have sought to have her criminally
prosecuted,

Having said that, and having stayed on, I urge you to be just and use your discretion to
fix the errors of the lower court and this Court described in this letter, as it is undisputed
this Court has the discretion to do.

The video of the May 18, 2018 Oral Arguments shows you are going to try to assert that
“at your discretion” you do not need to answer the question of the Merger Clause being
broken by the Landlord, and that accordingly I will need to pay the person who
admittedly broke the Merger Clause $1.5 million dollars. You cannot do that for many
different reasons.

First, at the May 18, 2018 Oral Arguments, the Court refused to answer to the
undisputed fact that the Merger Clause was broken and the Personal Guarantees were
voided, even though the Landlord and his attorneys admitted this fact repeatedly to this
Court and the lower court.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 114 of 152

Also, as was admitted by plaintiff's attorney, I did not need to file an appeal of the final
judgement in order for this Court to consider the appeal. The arguments for why the
Landlord could not collect on the interim and final judgement are identical. The case is
not about “the amount” of the interim order or of “the amount” of the final order. The
issue is that the Merger Clause was broken and the Personal Guarantees were voided.

Third, the Court's “discretion” to hear this appeal is not based on which party the judges
like or don’t like. The Court's “discretion” is to be just and fix the many errors of the
lower courts and of this Court. In the present case, as had been shown exhaustively, the
errors of Judge Ostrager’s lower court and this Court are not in dispute.

On five previous occassions, this Court and the lower court have refused to admit or
address the fact that as a matter of law the Merger Clause was broken and the
Guarantees were voided.

1) The issue of the Merger Clause and Personal Guarantee was litigated but
ignored by Justice Ostrager at trial, although it was litigated by Defendant and
was his material evidence.

2) The issue of the Merger Clause and Personal Guarantee was litigated but
ignored by Justice Ostrager in my post-trial motion to vacate the verdict and again
this piece of material evidence that voided the Guarantees was ignored.

3) The issue of the Merger Clause and Personal Guarantee was litigated but
ignored by Justice Ostrager in my reargument motion.

4) The issue of the Merger Clause and Personal Guarantee was litigated but
completely ignored by the Justices of the Appellate Division, First Department in
its April 13, 2017 decision.

5) The issue of the Merger Clause and Personal Guarantee was litigated but
ignored by the Justices of the Appellate Division, First Department in my
reargument to this Court.

The Court must use its discretion to address and fix the errors that this Court and the
lower court made in five times by ignoring the defense that the Merger Clause was
broken and the Personal Guarantees were voided as a matter of law when the Landlord
destroyed the good and satisfactory “as is” condition that the building was in at the time
the leases and guarantees were signed.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 115 of 152

Here ar additional reasons the Court must use its discretion to vacate the judgments and
issue a new trial on Defendant's claims:

1) Both parties agreed in court documents and during Oral Arguments that the Court can
make a determination on this issue of the Personal Guarantee.

2) Both Parties have always agreed that Merger Clause was broken and the Guarantees
were voided by the Landlord's unlawful acts. It was an abuse of discretion for this
Court to again ignore the central issue of the case.

3) Both parties agree that this Court erred when it reversed the single question on which
the judgement was based but did not vacate the judgement.

4) Both parties agree that the jury verdict was based solely on a single, totally false
“legal” definition of a meeting hall that was never shared with defendant until the
false claim was actually recited to the jury.

5) The single reason why the attorney for the Landlord argues that the court should “use
its discretion” not make a determination in this case is totally false. The Landlord's
attorney argues that law of the case precludes the Court from hearing this appeal, but
as shown above the issue of the Merge Clause an the Landlord's breach was never
adjudicated and must be now.

The Landlord’s attorney argues that the issue of the Merger Clause and the Personal
Guarantees has already been litigated and determined numerous times in this Court and
the lower court and that “law of the case” prevents this Court from hearing this appeal.
He is half right. I have repeatedly litigated in the lower court and this Court the fact that
it is undisputed that the Merger Clause was breached and that as a matter of law the the
guarantees were voided because the Landlord's unlawful conduct voided the Personal
Guarantees when he destroyed the building’s Certificate of Occupancy. But where he is
wrong is that he said that there was an adjudication on this issue when unjustly the issue
was repeatedly ignored completely by this Court and the lower court.

Mr, Shiendlin argues that I did not appeal the final judgement but admits I did not need
to in order for the Court to here the appeal since this defense was the exact same for
both. The appea! was not about the amount or calculation of either judgement but was
about the fact that no money was due because the Personal Guarantees were void as a
matter of law and public policy.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 116 of 152

While I did not appeal final judgement, I did at that exact time appeal to this Court in a
reargument motion stating all of the errors in this Court's April 13, 2017 decision that
mandated correction, These errors included:

1) that the Court reversed the jury finding but not the judgement;

2) that the court was silent in its April 13, 2017 decision on addressing the fact
that the Merger Clause was breached and the guarantees voided, although that was
my full defense to the judgments and the basis for my counterclaims;

3) that for the Landlord to collect on the guarantees was against public policy
since he is the worst of the worst in violating all zoning laws, building codes, fire
safety laws and certificate of occupancy laws;

4) that there was never any “proposed verdict sheets” presented by Plaintiff for
Defendant to argue against;

5) that the false claim that only one floor plan was permitted “legally” for Meeting
Hall use was never said by anyone prior to Judge Ostrager making the false claim
to the jury;

6) this Court was told that a $1.5 million dollar judgment was based solely on this
false claim.

This Court “denied” without a word of explanation or justification for failing to address
these issues.

I ask this Court to please use its “discretion” to fix these errors. This means this Court

must use this sixth opportunity to address the fact that the Merger Clause was breached
and the Personal Guarantees were voided as a matter of law and public policy.

Sincerely,

 

James H. Brady

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 117 of 152

EXHIBIT 11

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 118 of 152

June 5, 2018
James H. Brady
510 Sicomac Ave.
Wyckoff, NJ 07481

bradyny@gmail.com
(201) 923-5511

Hon. Peter Tom

Hon. Barbara Kapnick

Hon. Dianne Renwick

Hon. Richard Andrias

Appellate Division, First Judicial Department
Supreme Court of the State of New York

27 Madison Avenue

New York, NY 10010

Re: [GS Realty Co., LP v. James H. Brady., Index No. 603561/2009
Dear Justices of the First Department:

This Court needs to read the attached May 31, 2018 letter to Judge Barry Ostrager.
There cannot be discretion when the $1.5 million judgment is based solely on admitted,
incontrovertible false statements to the jury and a complete disregard for the merger
clause of the contract.

The issue of the Judgment has two prongs:

First, the undisputed fact the Judgment was based solely on admitted false statements to
the jury that there was only one “legal” floor plan for meeting hall use pursuant to the
DOB, and that James H. Brady as guarantor is liable if that floor plan was not followed
by the tenant-corporations.

The second prong is addressing that the undisputed fact that the Merger Clause was
broken by the Landlord, and undisputed fact that the Personal Guarantees are voided as
a matter of law and public policy when after the leases were signed he turned the
building into an illegal office building.

There is no discretion to ignore the $1.5 million judgment was based on totally false law

and false jury instructions that were never revealed until these false claims were stated to
the jury. This Court needs to address this immediately. Judicial discretion is for the

1

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 119 of 152

purpose of justice, and it was certainly not just for my defense of breach of contract to
be ignored over half a dozen times.

The transcript of the May 16, 2018 Oral Arguments shows this Court refused to answer
whether the Merger Clause to the contract was breached by the Landlord even though
the parties to the contract have always agreed it was.

The May 16, 2018 Oral Argument transcript shows this court sat silent and refused to
address the undisputed fact that the verdict and judgment was based on the totally false
claim that under the law, only one floor plan was permitted for Meeting Hall use or
James Brady personally owed what is now a $1.5 million dollar judgment.

The enclosed letter to Judge Ostrager has also been sent to 7 different city, state and
federal law enforcement agencies. I truly hope this Court will do the right thing, which
mandates a new trial for my claims and a declaration that the Personal Guarantees are
void,

Sincerely,

 

James H. Brady

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 120 of 152

EXHIBIT 12

 

 
Case 1:19-cv-07122-LGS Document 2? Filed 07/30/19 Page 121 of 152

 

 

IGS Realty Co., L.P. v Brady

 

 

2018 NY Slip Op 04086

 

 

 

Decided on June 7, 2018

 

 

Appellate Division, First Department

 

Published by New York State Law Reporting Bureau pursuant to
Judiciary Law § 431.

 

 

This opinion is uncorrected and subject to revision before publication
in the Official Reports.

 

 

 

 

 

 

Decided on June 7, 2018
Tom, J.P., Andrias, Kapnick, Webber, JJ.

603561/09 6800 6799
[*i]IGS Realty Co., L.P., Plaintiff-Respondent,
Vv

James H. Brady, Defendant-Appellant.

James H. Brady, appellant pro se.

Law Office of Gregory Sheindlin, PLLC, New York (Gregory
Sheindlin of counsel), for respondent.

 
Appeal froni SFdele Suiprente Colt, NEW VOR Coshty (Batty R.
Ostrager, J.), entered April 10, 2017, deemed an appeal from judgment
(CPLR 5520[c]), same court and Justice, entered May 31, 2017, in favor of
plaintiff, and as so considered, said judgment unanimously affirmed,
without costs. Appeal from order, same court and Justice, entered February

17, 2017, unanimously dismissed, without costs, as abandoned.

Pro se defendant's arguments on this appeal, previously raised and
rejected by this Court and supported by no new evidence or change of law,
are barred by law of the case (see Delgado v City of New York, 144 AD3d
46, 51 [ist Dept 2016]; Carmona vy Mathisson, 92 AD3d 492, 492-493 [1st
Dept 2012)).

We have considered defendant's remaining contentions and find them

unavailing.
THIS CONSTITUTES THE DECISION AND ORDER

OF THE SUPREME COURT, APPELLATE DIVISION, FIRST
DEPARTMENT.

ENTERED: JUNE 7, 2018

CLERK

Retum to Decision List.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 123 of 152

EXHIBIT 13

 
2
GWILED: NEW YORK COUNTY CLERK 07/31/2015 11:22

Case 1:19-cv-07122-LGS Document 2- Filed CSQA Page LaMiiaieIBE 609561/2009

RECEIVED NYSCEF: 07/31/2015

NYSCEF DOC, NO. 244

}
a
f

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK
CO Lp albla IGS REALTY,CO, ,
Plaintiff,
-against- Index No. 603561/09
JAMES H. BRADY,
Defendant.
nn RR x

OSTRAGER, J.
JURY INTERROGATORIES

At least five (5) jurors must agree on the answer to each question.

4{a). Do you find in favor of the plaintiff IGS Realty on its claim against the defendant for
breach of contract? ; .

/

ee

yes no

 

a oe om ann

 

if your answer to question 1{a) is "YES", please proceed to question 1{b). if your
answer to question 1(a) is "NO", please preceed to question 2(a).

1(b). Please state the total dollar amount of dam inti
Please state the total dolar arr ages, if any, that you award to plaintiff for

eh. Abe —
Deer Aye

<——

C.Larslo atl,

Please proceed to question 2(a).

 

 

 

 

 
eb

Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 125 of 152

2(a). Do you find in favor of the defendant in connection with his claim that plaintiff
breached the implied warranty that the premises were fit for the use stated in the

leases? ,

dra BD OS“ —
ales BIB. (Ena, ——

if your answer to question 2(a) is "YES", please proceed to question 2(b). If your
answer to question 2(a) is "NO", please proceed to question 3.

2(b). Please state the total dollar amount of damages, if any, that you award to defendant

for plaintiffs breach of the implied warranty that the premises were fit for the use
stated in the leases,

Loui hr LP
Cnbordo Balt | (eae

{
Please proceed to question 3(a).

 

 

 

3a). Do you find in favor of the defendant on the claim that plaintiff IGS Realty
fraudulently induced him to sign the leases and guarantees?

On ton Wo 8

 

 

If your answer to question 3(a) is "YES", please proceed to question 3(b). if your
answer to question 3(a) is "NO", please stop here and report your findings to the

Court.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 126 of 152

3(b). Please state the total dollar amount of damages, if any, that you award to defendant
based on his claim of fraud by IGS.

OW

Abbe. Pon

Colon dp pao, tthe

 

 

PLEASE REPORT YOUR FINDINGS TO THE COURT.

tae

 

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 127 of 152

EXHIBIT 14
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 128 of 152

March 23, 2018
Mr. James Brady
450 West 31" Street, 12% Floor
New York, NY 10001
(201) 923-5511
bradyny@gmail.com

State of New York Court of Appeals
Clerk of the Court

20 Eagle Street

Albany, NY 12207

Re: IGS Realty Co., LP v. James H. Brady., Index No. 603561/2009

 

Dear Clerk of the Court:

It is vital the judges of the Court of Appeals see this original documentary evidence in
the above case. This is not new evidence. It is the original architect's floorplan which
shows that the jury charge in this case was factually incorrect.

A scanned, pdf-sized version of this floorplan has already been submitted as part of the
Record in this appeal, but the original 2' x 3' feet floorplan, which was seen by the
Department of Buildings, the NYPD and the Fire Department each time they walked
into one of my event spaces to perform inspections, should be included in this case as it
is an original piece of documentary evidence that cannot be ignored as it has been
repatedly by Judge Ostrager and the Appellate Division Justices.

[have a $1.5 million judgment against me which stems exclusively from an a jury
verdict based on the following incorrect jury charge by Judge Ostrager:

Plaintiff's claims that the leases it had with the corporations of the defendant,
James Brady, required that the use -- the corporation's use and occupy the spaces
only as meeting halls as defined by the law, but that instead he used them as
banquet halls. A meeting hall is defined as a space in which during the major
period of occupancy the persons assembled comprise a seated or otherwise
passive audience to a performance or presentation and have their attention focused
in a common direction at a common subject.
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 129 of 152

A banquet hall is defined as a space which during the major period of occupancy,
persons assemble for dancing or for the consumption of food and drink, or any
combination of dancing, eating or drinking or entertainment.

The floorplan proves Judge Ostrager's jury charge was completely wrong. The Public
Assembly permit for Defendant’s 11" floor at 336 West 37" Street proves the
Department of Building permitted totally different room configurations from those the
Court used as part of its Jury Charge. The permit is clearly labeled “Meeting Hall Use
Group CoC Occupancy F-1b, Total Number of Persons: 240.”

The Department of Buildings will not approve a Public Assembly Permit for a non-
compliant floorplan. Only the DOB can determine whether a floor configuration is
compliant, not a jury, and the DOB approved this floorplan as a “meeting hall.”

I presented Judge Ostrager with a pdf version of this floorplan within the time-period
that was allotted after trial, but he ignored it and dismissed my motion. I again
presented him with it in my motion to reargue, and then twice at the fee hearings.

The record shows that during an ex parte communication hours before the jury trial
started, it was agreed between the Landlord and the Landlord's architect and lawyer that
if I did not accept the Landlords $50,000 offer to settle, Judge Ostrager would make a
completely false claim during his Jury Charges, namely, that UNDER THE LAW, there
was only one permitted way that a meeting hall could be used.

The Landlord's Trial Memorandum shows that Mr. Fass did not submit any proposed
jury charges, which means that the “law” given the jury came from the Court, or in
consultation with Plaintiff, but that it was not and had never been part of this case. Mr.
Fass introduced the issue for the first time in his opening arguments:

“Ifrah (the landlord) will show you that Mr. Brady's use was not permitted under
applicable zoning building code requirements. In particular, although he claims to
be running what is called a meeting hall --and the Judge will charge you what that
means--he was in fact an entirely different use known as a banquet hall, which
wasn't allowed in the district. And he did it from day one.” (Transcript, June 23,
2015, p. 12). (R.989).

This suggests that during the ex parte meeting, Plaintiff's gave the Court something and
presented it as the meaning of the term “Meeting Hall.” Defendant was not there to see
or oppose what was given to the Court. But the Judge did warn me that I should take the

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 130 of 152

$50,000 offer or I would be sorry, another New York judge asking that I take pennies on
the dollar after I spent $750,000 renovating the spaces.

The Record shows that Judge Ostrager proceeded to say to the jury that “if the persons
assembled comprise a seated or otherwise passive audience to a performance or
presentation and have their attention focused in a common direction at a common
subject,” that means that Brady as Personal Guarantor was in breach of the leases and
needed to pay the amount the Landlord claimed due on the Personal Guarantees. In
other words, the seating arrangements of the corporate tenant determined whether I was
liable for $1.5 million. That was a directed verdict against Brady.

Judge Ostrager also asserted that if Brady did not follow that floorplan with guests all
seated in one direction passively, then Brady would have no causes of action for fraud
in the inducement because you cannot be fraudulently induced into entering an illegal
use contract. That was another directed verdict against Brady.

Judge Ostrager and the Appellate Division Justices completely ignored the fact that the
claims were untrue, were never said by anyone at trial, were not ever claimed by anyone
ever, and were never supposed to be triable issues since it was a Personal Guarantee
issue only by Plaintiff 1GS Realty .

In conclusion, the Justices of the Court of Appeals should see the original architect's
floorplan in order to properly adjudicate this case and reverse the jury charge and Judge
Ostrager's factually incorrect statements of law and fact.

Please make sure that this piece of original evidence is sent back to me at the address

above.

Sincerely,

 

James Brady

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 131 of 152

EXHIBIT 15

 
Gmail - IGS REALTY CO., (athea Iced QALW+OG.L2 2ahHS GSerdocosssendo2 Filed 07/30/19 Page 132 of 152 7/30/19, 12:10 PM

Comal

 

IGS REALTY CO., L.P. d/b/a IGS REALTY CO. vs JAMES H BRADY 603561/2009 __

Patricia L Della Peruta <piperuta@nycourts.gov>
To: "bradyny@gmail.com” <bradyny@gmail.com>
Ce: Alexander Giuffre <agiuffre@nycourts.gov>

Fri, Mar 30, 2018 at 1:10 PM

Mr. Brady,

The FedEx package you sent to Justice Ostrager arrived today. Please retrieve it from the Part Clerk at your earliest convenience.
Please note, Justice Ostrager’s courtroom is Room 232 at 60 Centre Street (not 341). Thank you.

 

Patty Della Peruta

Secretary to Justice Barry R Ostrager
Supreme Court, New York County
60 Centre Street, Room 624

New York, NY 10007

Tel: 646 386-4150

Fax: 212 618-5291

plperuta@nycourts.gov

Jim Brady <bradyny@gmaii.com>
To: Patricia L Della Peruta <plperuta@nycourts.gov>
Cc: Alexander Giuffre <agiuffre@nycourts.gov>

Fri, Mar 30, 2018 at 1:28 PM

Dear. Ms Della Peruta
| can pick up the package on Monday. Please confirm the room number and who | should ask for..

You make no mention of whether judge Ostrager will be contacting the Court of Appeals as requested in the letter?

httos://mail.google.cam/mail/u/0?7ik=6710 8ab192&view=pt&search=...msg-f[%3A1596749021582676283&simpl=msg-f%3A1596 74941 2565889002 Page 1 of 4

 
“* Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 133 of 152
Thank You

James H Brady
[Quoted text hidden}

Fri, Mar 30, 2078 at 1:40 PM

Pe ee ee er ee — a te ne me wee ee ee oe ie

Patricia L Della Peruta <plperuta@nycourts.gov>

To: Jim Brady <bradyny@gmail.com>
Ce: Alexander Giuffre <agiuffre@nycourts.gov>

Mr. Brady,

You may pick up the package on Monday. Go to Room 232 and ask the Clerk for the package. Unfortunately Alex Giuffie will
be out’on Monday aud 1 do not have the name of his replacement at this time. If you have any difficulty, please call me at 646-

386-4150 and I will assist.

The Court reviewed your letter. There is no procedure for the Judge to contact the Court of Appeals.

fQuoted text hidden}

Jim Brady <bradyny@gmail.com> Fri, Mar 30, 2018 at 2:40 PM
To: Patricia L Detla Peruta <piperuta@nycourts.gov>
Cc: Alexander Giuffre <agiuffre@nycourts.gov>

Ms. Della Peeuta
The architectural plans that were approved by the Department of Buildings proves conclusively what Judge Ostrager

said was the only ficor plan permitted under the law for meeting hall use was totally false.
Judge Ostrager must show where he found that statement as law or help fix the mistake

[t's one or the other
Please tell him | need him to help fix his mistake which resulted in a 7.5 million doilar judgement against me

Thank you
James Brady

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 134 of 152

EXHIBIT 16

 
. 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 135 of 152
April 18, so d

James H. Brady

450 West 31° Street
12" Floor

New York, NY 10001

bradyny@gmail.com

Justice Barry Ostrager
60 Centre Street
Room 341

New York, NY 10013

Re: /GS Realty Co., LP v. James H, Brady., Index No. 603561/2009

Dear Justice Ostrager:

Tam writing following-up to see is you contacted the Court of Appeals in reference to the
fatal mistakes this Court made while presiding over this case.

I provided you with the original architectural plans that were approved by the New York
State Department of Buildings that proved your claim that “under the law” only one floor-
plan configuration was permitted by the DOB was completely wrong. In my prior letter, I
asked that you fix the mistake, or explain where you found the case law. As you cannot
provide the case law, I again am asking that you fix your mistake. I am unwilling to permit
you to do nothing while your untrue jury charge expressly caused a $1.5 million dollar
judgement against me.

Since the time of my last letter to you, I have found more proof of some of the other fatal
mistakes that you made which mandate that you contact the Court of Appeals and admit
your mistakes and the need for a new trial.

For example, the jury instruction that if a particular floor-plan was not followed by the
tenant-corporations, that meant James H. Brady was in breach of contract and was liable to
the Landlord. As the attached April 5, 2018 decision from the Appellate Division, First
Department proves, James H. Brady could not have broken the contract since James H.
Brady was not a party to the contract or a tenant of IGS Realty.

In its April 5, 2018 decision in Veneto Hotel & Casino, S.A. vy. German-American Capital
Corporation, Index No. 651888/2015 (2018). The Appellate Division, First Department

upheld dismissal of breach of contract claims because the party plaintiff asserted had
breached the contract was not a party to the contract:

With respect to the breach of contract and breach of the implied covenant claims
asserted by plaintiff SE Leisure Management LLC, these were also properly

Alaealnan Al Tinta And ween nant nA nate tr thn Ane nnn sen ween ne BAPE nak
41 Alase 1:12, d4.07 dae Dest 2007ment 2 Filed 07/30/19 Page 136 of 152

There is currently a $1.5 million dollar judgement against James H. Brady for breach of
contract that was never a claim made by IGS Realty. This Court made up the Breach of
Contract claim against James H. Brady that was unlawful to charge him with since James
H. Brady was not a party to the contract. This Court must address this error with the Court
of Appeals immediately .

I have learned of more case law proving the inexperience of this Court cause me great
harm. For example

First this court ignored my counter claims completely and substituted a counterclaim with
its own charge that the court know would then be set up and reversed against me on
appeal.

p. 40 of part 4 transcript

Under the law, a violation of a

Although the tenant and his Landlord admitted the distraction of the buildings Certificate
of Occupancy, this court ignored my negligence and gross negligence claims. As a matte
of law you had no authority to to do that since as a matte of law of violations mean a
degree of negligence

Finally my claim was that the landlord broke the merger clause of the lease and thus broke
the contract since the as is condition was destroyed after the leases and guarantees were
signed. You should have left the charge as presented but instead the Court, again on its
own changed the charge to a change of ‘ implied warranty of inhabitability “ That is a
charge that is not permitted in corporate leases, as you know. So this that charge it was set
up to be reversed if the jury found in my favor

As a matter of law Certificate of Occupancy violations are evidence of a degree ‘ of
negligence” yet the court permitted the landlords attorney to say over 10 times that no one
follows the law and that “ having a Cof O or not having a certificate of occuapncy makes
no difference

Another fatal mistake in the jury charges that you created was your instruction that if'a
particular flor plan was not followed then that meant James H Brady was in breach of
contract and owed the landlord the money he claimed do. As the attacked decision from
the Appellate Division First Department proves James H Brady could not have broken the
contract since James H Brady was not a party to the contract or a tenant of IGS Realty.
Currently there is a 1.5 million dollar judgement against James H Brady for breach of
contract that was never a claim made by IGS Realty. This Court made up the Breach of
Contract claim against James H Brady that was unlawful to charge him with since James H

Rradw urac nat a narty ta the eantract Thie ennrt mict addrace thie arrar with the Cant af

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 137 of 152

Thank you,

 

 

James Brady, Pro se Plaintiff
450 West 31 Street

12" Floor

New York, NY 10001

(201) 923-5511

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 138 of 152

EXHIBIT 17

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 139 of 152

May 14, 2018
James H. Brady
450 West 31" Street
12" Floor
New York, NY 10001

bradyny@gmail.com

Justice Barry Ostrager
60 Centre Street
Room 341

New York, NY 10013

Re: /GS Realty Co., LP v. James H. Brady., Index No. 603561/2009
Dear Justice Ostrager:

I will be before the Appellate Division, First Department on Wednesday, May 16, 2018,
in the related Article 52 proceeding, [GS Realty Co., LP v. James H. Brady, Index No.
159554/2017 in which the Landlord is attempting to force a sale of the business which is
my only source of income in order to collect the $1.5 million dollar judgment handed
down by this Court.

You need file a letter in the Unified Court System addressed to the Appellate Division by
the end of day on Tuesday, May 15, 2018 stating that your jury instruction was wrong,
that the judgment is void, and that a new trial is needed.

This Court's jury charge was that if a particular floor-plan was not followed by the
tenant-corporations, that meant James H. Brady was himself in breach of contract and
therefore was liable to the Landlord.

The Jury Charge was shown to be false within the time period given by this Court to file
post-trial motions. In a subsequent letter on March 2018, I provided you with the
original architectural plans that were approved by the New York State Department of
Buildings that proved your claim that “under the law” only one floor-plan configuration
was permitted by the DOB was completely wrong.

In my prior letter, I asked that you fix the mistake, or explain where you found the case
law. The Court has so far refused to correct its mistake. When asked if the Court still
held the same opinion regarding the Jury Charge, you first said yes and then dismissed
my question by saying you did not need to answer.

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 140 of 152

This Court knows that as a matter of law, a person or entity that was not a party to a
contract could not have broken the contract. In this case, the verdict and judgment were
based on a breach of contract by a party that was never a party to the contract.

The issue of whether the corporate-tenants had broken the leases was only the first
finding required to hold that James H. Brady, the personal guarantor, was liable to the
Landlord.

James H. Brady could not have broken the lease agreement because James H. Brady was
not the lessee nor the tenant. The Court skipped over this entire analysis and asserted
that if the corporate tenants did not have all guests seated in one direction passively, then
I as Personal Guarantor had no counterclaims for fraud in the inducement because you
cannot be fraudulently induced into entering an illegal use contract.

The Jury's verdict proves that the jury was asked to determine whether James H. Brady
broke the leases, not whether the tenant-corporations had broken the leases:

COURT CLERK: In regard to question 1B, please state the total dollar amount of
damages, if any, that you award to plaintiff for defendant breach of contract?

JUROR: $541,758.62.

The Plaintiff never submitted any jury instructions. This Court came up with the Jury
Charge itself as part of a road-map to a directive verdict against me after I refused to
accept the Landlord's $50,000 offer to settle. The Landlord is now attempting to force a
sale of my business in order to collect on what has been shown conclusively to be a false
Jury Charge that misstated New York Law.

This should have been corrected through my post-trial motion. This Court now needs to
communicate its error to the Appellate Division, First Department by the end of day

tomorrow, May 15, 2018, to prevent a great injustice for which this Court is responsible.

Thank you,

/s/

James Brady, Pro se Plaintiff

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 141 of 152

EXHIBIT 18

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 142 of 152

May 31, 2018
James H. Brady
450 West 31" Street
12" Floor
New York, NY 10001

bradyny@gmail.com

Justice Barry Ostrager
60 Centre Street .
Room 341

New York, NY 10013

Re: [GS Realty Co., LP v_ James H. Brady., Index No. 603561/2009
Dear Justice Ostrager:

You have ignored my repeated pleads for your help in fixing the consequences of the
totally false jury charge that you gave on June 26, 2015 that resulted in what is now a
$1.5 million dollar judgment against me. You completely ignored fixing your mistake
and did not dispute that you knew you were lying when you told the jury that the only
“legal” floor plan for a meeting hall “is defined as a space in which during the major
period of occupancy the persons assembled comprise a seated or otherwise passive
audience to a performance or presentation and have their attention focused in a common
direction at a common subject,” otherwise personal guarantor James Brady (who was
not even a tenant or a party to the contract personally) broke the contract and owed the
Landlord what is now a $1.5 million dollar judgment.

My most recent letters from March 28, 2018 and May 14, 2018 demanded that you fix
the consequences of your false Jury charge or show me the law that you relied on in
making this false claim to the Jury that under the law the only floor plan permitted "is
defined as a space in which during the major period of occupancy the persons assembled
comprise a seated or otherwise passive audience to a performance or presentation and
and have their attention focused in a common direction at a common subject”.

Specifically, on page 2 of my March 28, 2018 letter I wrote the following:

"Your honor cannot sit by and allow this injustice. This Court must write the Court of
Appeals and explain that you made an error at trial and the corresponding judgment

must be set aside. Otherwise, the Court must show where the law states that a Meeting
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 143 of 152

Hall must have all guests facing one direction like a theater, and that a Personal
Guarantor has to pay if that floor plan is not followed by the corporate tenant.”

You refused to do either, although you knew your claim was totally false and resulted in
a $1.5 million dollar judgment based solely on your lie.

You made up this totally false Jury charge and would not fix it because it was this
criminal act that got you immediately promoted to a Commercial Division Judge. You
were rewarded for doing the bidding of Commercial Division Judge Marcy Friedman
and Commercial Division Judge Shirley Kornreich and the other corrupt judges that I
have exposed on my website bullyjudges.com, and whom I have repeatedly pressed to
have removed and prosecuted.

Your jury charge was absolutely retaliatory and made up solely by you. The landlord and
his attorney made up the claim that my corporate tenants were actually illegal banquet
halls only to get out of paying me any judgment the jury might award me. It was you
alone that make up the false claim that if my corporate tenants did not follow a
particulate floor plan them I owed the landlord what is now a $1.5 million dollar
judgment.

Here are other facts about you that warrant a criminal probe:
1) You were never elected to be a New York Supreme Court Judge.

2) You were appointed to be a Court of Claims Judge by Governor Andrew Cuomo in
June 2015. At that time I was suing Andrew Cuomo for his part in a criminal scheme to
have my February 11, 2010 Appellate Division Decision replaced with Supreme Court
Commercial Division Judge Shirley Kornreich’s July 15, 2014 decision. In the lower
court Judge Kornreich replaced the 40 words that were in my Offering Plan Contract
with 70 different words that voided the $70-90 million in development rights which both
of these documents said I had. To boot, she has issued $470,000 in sanctions against me,
as you know.

Governor Cuomo was able to get you a judicial job under the guise that you were going
to be a Court of Claims Judge, yet you never actually worked as a Court of Claims
Judge.

Instead you mysteriously and immediately took over the case of JGS Realty vs. James H
Brady, which was before Justice Joan Madden since 2009.
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 144 of 152

Why was the case taken over by you in June 2015? Who’s idea was that, and how did it
take place? Who authorized the case to be moved from Justice Joan Madden to you in
June 2015? You were only authorized as a brand new judge to hear cases below
$500,000 but this case was much higher since my counter claims were in the millions of
dollars. Why did you not follow that requirement?

It is undisputed by you and the record proves that the first day of trial was to begin on
June 23, 2015, where you had an ex-party communication with the landlord Philippe
Ifrah, his architect and Attorney Robert Fass. It is undisputed, and the record proves that
during that ex partie communication the four of you created a scheme, where if I did not
accept the landlord’s $50,000 offer to settle, you would tell the jury the false claim that a
Meeting Hall is “legally” defined only as a “legal” floor plan, for a meeting hall “is
defined as a space in which during the major period of occupancy the persons assembled
comprise a seated or otherwise passive audience to a performance or presentation and
have their attention focused in a common direction at a common subject”; otherwise
personal guarantor James Brady (who was not a party to the contract) broke the contract
and needed to pay the judgment.

You do not dispute that you knew the claim was totally false when you made the claim
to the jury. Why did you knowingly make this false and foolish claim? It was because
making this false claim to the jury and getting a $1.5 million dollar judgment against me
that lead to your immediate promotion to the prestigious and powerful Commercial
Division, in your first month on the job.

And when shown evidence that the claim was totally false you ignored it, and stated that
the verdict “was not against the weight of the evidence” and that “I did not object to the
jury charge.” You knew both claims were totally false.

First, the jury verdict and judgment was based only on the false roadmap you had given
them, and the false “law” that was never stated until you spit out the crazy and false
words to the jury.

Second, the landlord did not provide any jury charges to object, as you are fully aware,
because a key to your colluded scheme was secrecy. The jury charges were made up by
you and were a roadmap that could only lead to jury decisions against me. Although his
actions were clearly negligent and grossly negligence, you discarded these
counterclaims.

The jury charges that you never revealed and made up on your own, stated that if my
corporations did not have a particular theater style floor plan with patrons passively

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 145 of 152

facing in a particular direction, then that meant that James H. Brady broke the contract
and the jury needed to award the landlord what is now a 1.5 million dollar judgment.

You also stated that if this floor plan was not followed then there could be no fraud in
the inducement. That’s why they had to say no to your second question.

Your third and final question was for the jury to determine if there was a breach of
implied warrant of habitability which they said no, since you let them believe that
having a certificate of occupancy or not having a certificate of occupancy “made no
difference.”

Furthermore, I never claimed breach of implied warranty of habitability in my complaint
because there is no such thing as an implied warranty of habitability in a commercial
lease. So even if the jury said yes there was breach of implied warranty: that third
question would have been reversed on appeal since there is no such thing as an implied
warranty of inhabitability in a commercial lease. You didn’t know this fact, yet you were
immediately promoted to the Commercial Division as a result of the outcome of this
trial?

What you did to me at that trial and how you had taken over the case was immediately
very suspicious to me:

The first thing you were shown in the hours before the trial when you were evaluating
strengths and weaknesses from both sides was the "merger clause” of the contract and
the admissions from the landlord’s attorney in his answers that the merger clause was
broken, when the landlord destroyed the buildings Good and Satisfactory “As is
Condition” when he unlawfully tuned the building into an illegal office building and did
not stay compliment with zoning laws after the leases were signed.

You became the first person ever to argue that the merger “as is condition” clause only
pertained to the physical condition and not the “legal condition” of the building. This
was patticularly suspicious, since the parties to the contract and our attorneys both agree
the “as is condition clause” pretend to the physical and legal condition of the building.

You knew that the “as is condition” clause of a merger clause commercial lease pertains
to its physical and legal condition of the building at the time due diligence is performed.
If not, how did you qualify to become a Commercial Division Judge not knowing this
very basic fact?

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 146 of 152

You knew the breach of the “as is condition” of the merger clause was my iron clad
defense to the Personal Guarantees, which is why you refused to address this defense
and therefore argued that the merger clause does not mean what it say on its face and
what the parties to the contract agree it means.

You sat behind the bench and heard the landlord’s attorney admit twice at trial that my
due diligence pertained to the physical and legal condition of the building, yet you
completely ignored this full defense that voided the guarantees since the unlawful acts
were done without my written consent.

The landlord and his attorney’s whole last minute made up story that I was the one
operating illegally was only intended so I could not collect against the landlord. The
intent of the story was not so that they could collect against me.

Yet you had taken it much further then that. You said in the jury charges that you created
that if my corporations did not follow a particular floor plan, then James H. Brady broke
the contract and owed what is now $1.5 million dollars. You were promoted immediately
to the Commercial Division as a reward for this shameful and corrupt conduct against
me.

You made up these false jury instructions so that they could only find against me and
award this huge judgment, whose unlawful acts admittedly destroyed my business.

The record shows that when you were not lying to the jury, you permitted Mr. Fass to lie
to them over ten times stating that “having a Certificate of Occupancy or not having a
Certificate of Occupancy makes no difference” and that “no one follows the law”.

How does this conduct and competence level promote you immediately to the
Commercial Division?

In truth, you were planted as someone to take over my case in another retaliation scheme
made against me by the New York State Judiciary. You were rewarded for destroying my
trial against the landlord and sticking me with a huge $1.5 million dollar judgment,
based on nothing more then your false claim that if my corporations did not follow a
particular floor plan and patrons did not sit in a particular passive way, then James H.
Brady had broken the contract and owed the judgment.

In the record it is shown that you claimed to the jury that the landlord made this claim
but there is no truth to this. The landlord never stated what you said to the jury. The

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 147 of 152

landlord and his attorney only admitted to the landlord’s own wrongs while asserting
that it was no big deal, since “no one followed the law”.

A review of the transcript proves that you repeatedly stated to the jury that they could
not award any money to me if they found I had broken the law, but you never had
provided them the other side of that argument. You never said that if the landlord
engaged in unlawful acts then they could not award him any money.

A review of the record also shows that you repeatedly were yelling at me and making the
landlord out to be the victim.

The record proves that the landlord admittedly broke the law and destroyed the Building
Certificate Occupancy and the Temporary Certificate of Occupancy I needed for my
meeting hall businesses, yet you would not give the jury my negligence or gross
negligence claims.

You knew that I, James H. Brady, could not have broken the contract since my name was
not on the contracts personally. The jury could only have ruled against the corporate
tenants. You knew that a guarantor’s defense is totally separate but ignored this fact
completely. You ignored that as a matter of law and public policy, the guarantees were
voided but completely ignored these defense.

You were rewarded for all these retaliatory acts with an immediate promotion to the
Commercial Division of the Manhattan Supreme Court. Records from a New York Law
Journal article indicates that you were not even supposed to preside over cases above
$500,000 in June 2015 because you were a brand new judge.

The only explanation for your conduct at the trial and refusal to fix the false jury charge
that lead to a $1.5 million dollar judgment against me is the fact that it was getting this
cruel, unjust decision against me got you promoted to a Commercial Division Judge.
There are no other explanation exists for your actions, and if there is then explain it by
June 7, 2018 ina letter that I can share with the law enforcement agencies investigating
this matter.

Sincerely,

/s/
James H. Brady

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 148 of 152

EXHIBIT 19

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 149 of 152

August 27, 2018
James H. Brady
450 West 31" Street
12" Floor
New York, NY 10001
bradyn mail.com

Justice Barry Ostrager
60 Centre Street
Room 34]

New York, NY 10013

Re: /GS Realty Co., LP v. James H. Brady., Index No. 603561/2009
Dear Justice Ostrager:

| have a matter that needs your immediate attention, As you know, you presided over
the case of IGS Realty Co., LP v. James H. Brady. As you also know, you were silent
and never applied the law that voids personal guarantees to the facts in this case, I need
you to do so, right now. You know that as a matter of law and public policy, the
personal guarantees were voided by the landlord’s repeatedly admitted illegal actions
after the personal guarantees were signed.

Thus far, neither you nor the justices of the Appellate Division First Department ever
addressed the issue of the personal guarantees. In fact, the issue was completely avoided
because addressing it would void the personal guarantees. This is part of the retaliation
scheme which I will make sure is prosecuted, if not, fixed. On September 5, 2018, I will
be forced to pay over $1.7 million dollars because you and the Appellate Division
Justices have refused to apply the law and public policy to the admitted facts that void
personal guarantees.

You can prevent this scandal from growing and this crime from being committed by
contacting the Court of Appeals today, and telling them that of your personal knowledge
when the law is applied to the admitted facts, the personal guarantees are void as a
matter of law and public policy.

To refresh in your memory, the law states the following voids personal guarantees:

“A guaranty must be construed ‘in the strictest manner’ (White Rose Food v. Saleh, 99 NY2d
589, 59] (2003). Guarantor cannot be heid responsible for the failure of the principal to

 
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 150 of 152

perform. An alteration of the contract to which the guaranty applies will serve to discharge the
guarantor’s obligation unless the guarantor has consented to the alteration. See White Rose
Food v Saleh, 99 NY2d 589 [2003]; Davimos v Halle, 35 AD3d 270 [2006.]).”

“There can be no doubt that a guarantor, when sued alone by the creditor, can successfully resist
by showing that the creditor, on his part, totally failed to perform his obligations to the
principal. In other words, the guarantor may always assert a total failure of consideration. This
is because the guarantor fs not liable unless the principal is bound (4 Williston Contracts
(rev.ed) 1213).”

Mr. Fass’ June 25, 2015 closing arguments included the following admissions of what the Landlord did
after the leases were signed:

“So let’s being at the beginning. In 2001 Mr. Ifrah placed an ad in the New York Times.
He (Brady) goes to the space, checks it out, and puts a deposit down a check on one of
the spaces. Then speaks with his father who has great experience in real estate who tells
him this is in the special garment district for zoning, so he better check out whether his
use is permitted,

So he puts a stop on the check and tells Mr. Ifrah he wants to do his due diligence, which
he does. And he checks the whole building from top to bottom, legal and physical
conditions, and concludes that everything is fine. The building’s legal, the physical
conditions are legal, and everything else is in good and satisfactory condition. So then
he writes another check and rents the space. After that in the same year and the
following year he rents two other spaces” (R. 882).

He also gets permits to construct meeting halls representing to the Building Department
it’s on the section that covers meeting halls, section of the regulation. And he gets
public assembly permits also for meeting hall use. The last certificate of occupancy that
he got expired in 2007.”

“There is no doubt at the time after the leases were signed Mr. Ifrah started renting space
and he had to pay a lot of finds to do it.” (R. 888-889)

“Mr. Ifrah had to pay hundreds and later thousands of dollars in fines as the fines
accumulated over time for the office space.” (R. 885)

“So after 2007 he didn’t have the certificate of occupancy of any sort.” (R. 884)

As you know, violation sheets from the department of buildings proved to you that the
landlord broke the lease and voided the personal guarantees through his unlawful
conduct, which he pleaded guilty to repeatedly in court.

The personal guarantee issued is currently before the Court of Appeals, and you must
contact them immediately and inform them of your first hand knowledge that it was
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 151 of 152

admitted to that the contract on which the personal guarantees applied were voided by
the landlords subsequent unlawful conduct.

You also know that the exhibits provided at trial prove the Department of Buildings
fined the landlord for altering his building from the good and satisfactory “as is”
condition it was in at the time the leases and personal guarantees were signed into an
illegal office building. You also know that he pleaded guilty to these illegal changes,
each and every time a violation was issued.

Your own admissions at trial prove that the Landlord broke the Leases and warranty, and
therein voided the Personal Guarantees.

THE COURT: We don't need this testimony, Mr. Brady. You've introduced a

document indicating that there was one violation on the building at the time that
you signed the lease. We don't need to - (R. 790).

THE COURT: Objection sustained. Mr. Brady, this is getting repetitive. You've
introduced into evidence the building reports, you've established what the state of

the certificate of occupancy is as of today, and there is no point repeating the same
thing over and over again. (R. 768).

THE COURT: ...you should be thinking about formulating simple questions that
ask the witness things like who, what, where, how and when, and not making

editorial comments because the jury knows there is presently no certificate of
occupancy for the entire building. That's been established. You don't have to
establish it again. (R. 755).

Please provide me a copy of the letter you will be sending to the Court of Appeals at
your earliest convenience.

Sincerely,

/s/
James H Brady

 

 

CC: FBI New York;
United States Senate;
U.S. Department of Justice Public Integrity Unit;
U.S. Department of Justice Criminal Division, OCGS;
Office of the Attorney General Public Integrity Bureau;
Case 1:19-cv-07122-LGS Document 2 Filed 07/30/19 Page 152 of 152

United States Attorney’s Office Public Corruption Unit;
Commission of Judicial Conduct;

Manhattan District Attorney's Office;

New York Court of Appeals;

SDNY Public Integrity Bureau.

 
